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April 18, 2013

VIA USPS PRIORITY MAIL

Deepwater Horizon Economic Claims Center
c/o Claims Administrator

42548 Happy Woods Road

Hammond, LA 70403

Re: Claimant: Rocon, Inc.
Claimant ID: 100002412
Claim ID: 1779

Dear Administrator:

I am enclosing herewith the original Eligibility Notice and Release executed by the
Claimant.

If you have any questions, please call E. J. Saad or Matt Andrews at 251-660-0888.

E. J. a
For the Firm

EJS/dl
Enclosure

6207 Cottage Hill Road Suite G Mobile, AL 36409
T. 251.660.0888 F: 251.660.0777 ejsaadlaw.com

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| DEEPWATER HORIZON
CLAIMS CENTER

ECONOMIC & PROPERTY DAMAGE CLAIMS

ELIGIBILITY NOTICE
DATE OF NOTICE: April 12, 2013
DEADLINE FOR RE-REVIEW OR RECONSIDERATION REQUEST: May 13, 2013

I. CLAIMANT AND CLAIM INFORMATION

Last/ Name of Business Arst Middle
Claimant Name

ROCON INC
Claimant ID 100002412 Claim ID 1779
Claim Type Business Economic Loss
Law Firm E.J. Saad Law Firm

IT. COMPENSATION AND PAYMENT DETERMINATION

This Notice is an official communication from the Claims Administrator for the Deepwater Horizon Economic and
Property Damages Settlement Program (“Settlement Program”) and relates to the claim identified in Section I. We
have reviewed this claim and find that it qualifies for payment under the terms of the Economic and Property
Damages Settlement Agreement (“Settlement Agreement”). The following provides a breakdown of the factors
relevant to your payment. See Explanation of Claim Attachment for details on each item, unless another Attachment
is noted.

1. Compensation Amount: $142,576.07

2 Risk Transfer Premium Amount: $35,644.02

fe ee See omiaisran $530.30

4 Less Prior Spill-Related Payments: $28,700.52

5. Total Compensation Amount: This is the sum of all Rows above. $150,049.87

6. 40% of Prior Transition Offer, if Applicable: $0.00

7. ee a Higher of 40% Amount or Final Claimant Compensation, subject to any $150,049.87
PAY-1v.7 WWW.DEEPWATERHORIZONECONOMICSETTLEMENT.COM —_—_ Claimant ID: 100002412
(ELC AY OT A Page 1 of 11 Claim ID: 1779

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ITI. ACCEPTANCE OF AWARD AMOUNT

To accept this Award Amount, you must complete and sign the Full and Final Release, Settlement, and Covenant Not
to Sue (“Release”) that is attached to this Notice. You must complete and submit an original, signed Release before
we can Issue payment, but only one Release is required. You do not have to submit a separate Release for each of
your payable claims. To be paid, you must use the Release that we send you. Although the terms of this Release are
the same as the version attached as Exhibit 26 to the Settlement Agreement, you must sign and return the Release
we send you with this Notice. Do not use a copy of Exhibit 26 or any other form of release, for we cannot accept
them. The Settlement Program’s determination will be binding on you even if you choose not to accept this award,
subject to any rights of Re-Review, Reconsideration and Appeal.

If you elect to waive any Re-Review, Reconsideration and Appeal rights for this claim as explained in Section VI,
submit the Release attached to this Notice. An original of the Release bearing the claimant’s signature
is required. We will not accept photocopies or scanned versions of the claimant's signature.
Once you submit a Release, we must verify your SSN, EIN or ITIN before you can receive payment.
If we cannot verify your SSN, EIN, or ITIN or if it changes upon submission of additional
information, your Award Amount could change or this Eligibility Notice may be rescinded. The
submitted Release will be binding on you for any additional Settlement Payments you may be eligible to receive
under the Settlement Program.

After signing your Release and receiving a payment on your first claim, you will have 180 days from the date we
mail or wire your initial payment to file any additional claims you wish to pursue pursuant to Section 4.4.8 of the
Settlement Agreement. You will waive all rights to future claims if you do not submit additional claims within
this 180-day window. However, if you are filing a claim in the Seafood Compensation Program, you must have
filed all Seafood-related claims no later than January 22, 2013.

To obtain more detailed information regarding acceptance of your payment and additional terms and requirements of
the Release, go to www.deepwaterhorizoneconomicsettlement.com. If you have any questions about your
options or this Notice, you may call the Claimant Communication Center at 1-800-353-1262, send an email to
Questions@dhecc.com, or visit a Claimant Assistance Center.

If the Compensation Amount listed on Row 1 of Section II of this Notice is greater than $25,000, BP has a right to
appeal it within certain timeframes that begin from the date of this Eligibility Notice, which means that you cannot
receive a Release or payment until BP’s appeal right has expired or been waived. If the BP Appeal deadline falls on a
Saturday, Sunday or a holiday, the deadline is extended to the next business day. Holidays are: New Year’s Day,
Martin Luther King, Jr.’s Birthday, Washington's Birthday, Memorial Day, Independence Day, Labor Day, Columbus
Day, Veteran’s Day, Thanksgiving Day, Christmas Day, and any other day designated by the Office of the Claims
Administrator.BP’s Appeal timeframes differ depending on the amount of the award as follows: (a) for awards of
$25,000.01 to $250,000.00, BP has ten days to appeal; (b) for awards of $250,000.01 to $500,000.00, BP has 15
days to appeal; and (c) for awards greater than $500,000.00, BP has 20 days to appeal. If BP appeals your
Compensation Amount, we will send you a separate notification explaining BP’s appeal and the appeals process. |

PAY-1 v.7 WWW.DEEPWATERHORIZONECONOMICSETTLEMENT.COM Claimant ID: 100002412

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IV. OPTION TO ELECT A STRUCTURED SETTLEMENT

You may be able to place some or all of your Award Amount into a structured settlement to receive multiple
payments spread out over more than one year (the “Structured Settlement Option”). You should consult your own
tax adviser regarding whether you should consider that Structured Settlement Option, and the tax, financial and
other consequences of the Structured Settlement Option.

If you want more information on the Structured Settlement Option, go to
www.deepwaterhorizoneconomicsettiement.com/structuredsettlement.php or call the Claimant
Communications Center at 1-800-353-1262. IF YOU WISH TO BE PAID USING THE STRUCTURED SETTLEMENT
OPTION, DO NOT SIGN OR RETURN THE RELEASE SENT TO YOU WITH THIS NOTICE AT THIS TIME. Instead, a
Court-approved structured settlement broker will help you assemble the paperwork necessary to elect the Structured
Settlement Option and that broker will send your completed paperwork to the Claims Administrator (this paperwork
will include an additional document that will be Attachment C to, and submitted at the same time as, your
Release), If this paperwork is not submitted on your behalf by a Court approved structured settlement broker by the
Deadline Date shown on this Notice, the Claims Administrator will consider that you have accepted your Award
Amount to be paid in a lump sum and that you do not want a Structured Settlement Option for this Award Amount.

V. DECEASED, MINOR AND INCOMPETENT CLAIMANTS

If you accept your Award Amount and the claimant on whose behalf this claim was asserted is deceased, a minor or
incompetent, depending upon the law of the state where the claimant lived or lives now, you may be required to get
court approval of this accepted settlement and submit a copy of an official court document proving that the person
signing the Release has the authority to settle this claim on the claimant's behalf if you do not already have such a
document, even if we accepted whatever proof you have provided before now as sufficient to allow the claim to
move through the claim review process. We will notify you if you need to seek court approval or submit additional
proof of authority before payment.

VI. RE-REVIEW AND RECONSIDERATION

You may seek Re-Review or Reconsideration of this claim if you choose not to accept your Award Amount.
Re-Review is available to you if one or both of the following applies to you: (1) you have additional documents to
submit in support of your claim; and/or (2) you have filed an IEL, BEL or Seafood claim and want your claim
reviewed for Claimant Accounting Support Reimbursement. If you select Re-Review, we will review your claim again
and will issue a Post-Re-Review Eligibility Notice. You will maintain your Reconsideration rights after you receive
your Post-Re-Review Eligibility Notice. If you request Re-Review on the grounds that you have additional documents
in support of your claim but you do not submit any new documents by the time of the new review, we will deem your
request to be a request for Reconsideration, we will perform a Reconsideration review, and your only remaining
option will be an appeal if you remain dissatisfied with your Award Amount. If you request Re-Review because you
want your claim reviewed for Claimant Accounting Support Reimbursement, you are not required to submit new
documents, although you may do so. You may elect Re-Review both because you have additional documents in
support of your underlying claim, and also because you want your claim reviewed for Claimant Accounting Support.

Reconsideration is available to you even if you do not have additional documents to submit if you believe the
Settlement Program: (1) made a Calculation Error; (2) failed to take into account relevant information or data; (3)
failed to follow the standards in the Settlement Agreement, or (4) made incorrect deductions from prior BP/GCCF
payments.

PAY-1 v.7 WWW.DEEPWATERHORIZONECONOMICSETTLEMENT.COM Claimant ID: 100002412

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To request Re-Review or Reconsideration, you must do the following on or before the Deadline for Re-Review or
Reconsideration Request date listed at the top of this Eligibility Notice: (1) complete the Re-Review or
Reconsideration Request Form accompanying this Notice or complete the online version available on the DWH
Portal; and (2) submit all documentation you want us to consider at the same time you submit your Re-Review or
Reconsideration Request Form. Because submission of a Re-Review or Reconsideration request is the equivalent of
asking for a new review of the claim, the outcome could change the eligibility of the claim, or your Award Amount
may increase, decrease or stay the same.

If you are dissatisfied with your Re-Review outcome, you will have the right to request Reconsideration and then
have the right to file an appeal. If you request Reconsideration and are dissatisfied with the outcome of your
Reconsideration review, you will have the right to file an appeal; however, you must submit a timely Request for
Reconsideration if you later wish to appeal. If you do not submit a request for Re-Review or
Reconsideration or submit one after the deadline for doing so has passed, you will not be able to file an

appeal.

VII. THIRD PARTY CLAIMS/LIENS

If we receive a valid Third Party Claim or Lien against your payment before we begin the payment process, we are
required to deduct from your Award Amount identified in Section II of this Notice the third party claim amount and
any other deductions required by state or federal law or by any court order. If your claim is subject to a third party
claim, we will send you a Notice of Valid Third Party Claim to explain how it affects your current and/or future Award
Amount(s).

VITI. ACCOUNTING SUPPORT REIMBURSEMENT

You are eligible to receive reimbursement for reasonable and necessary accounting fees related to claims
preparation. Reimbursement is limited to the accounting services necessary to complete the Claim Form or prepare
supporting documentation. You will be reimbursed for accounting fees based on the actual fees incurred.

For business claims over $50,000, total accounting fees may not exceed 2% of the Compensation Amount (excluding
any applicable Risk Transfer Premium). Accounting fees for all other claims less than or equal to $50,000 are limited
to $1,000. All business claims, regardless of the Compensation Amount, shall be subject to an overall accounting
support reimbursement limit of $50,000.

IX. HOW TO CONTACT US WITH QUESTIONS OR FOR HELP

If you have any questions about this Notice or the status of your claim(s) or need help, contact the Claimant
Communications Center at 1-800-353-1262 or send an email to Questions@dhecc.com. If you are a law firm or
Claims preparation company, you should call or email your designated DWH Contact for help or assistance. You also
may visit a Claimant Assistance Center and talk with one of our representatives. For a complete list of Claimant
Assistance Centers, go to www.deepwaterhorizoneconomicsettleament.com.

X. HOW TO RESPOND TO THIS NOTICE

Submit your or/gina/ hard copy, signed Release bearing the claimant's signature by Mail, Overnight Certified or
Registered Mail, or by visiting a Claimant Assistance Center. If you have already submitted a Release and you wish to
accept this Award Amount go to www.deepwaterhorizoneconomicsettlement.com and choose the Accept
Award Amount option. If you are unable to access the DWH Portal you must call the Claimant Communications
Center at 1-800-353-1262 to accept payment on this claim. Submit your Request for Re-Review or
Reconsideration Form online with any accompanying documents by uploading them to your DWH Portal in any of
the following ways. If you are unable to access the DWH Portal, you may submit your request in any of the following
ways, but be sure to write your Claimant ID on the top page of all the documents you submit.

By Mail Deepwater Horizon Economic Claims Center

(Postmarked no later than your Re-Review or PO Box 1439

Reconsideration deadline) Hammond, LA 70404-1439

PAY-1 v.7 WWW. DEEPWATERHORIZONECONOMICSETTLEMENT.COM Claimant ID: 100002412
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By Overnight, Certified or Registered
Mail
(If mail, postmarked no later than your Re-Review or
Reconsideration deadline; if other overnight delivery,
placed in the custody of an overnight carrier by your
Re-Review or Reconsideration deadline)

Deepwater Horizon Economic Claims Center
Claims Administrator

42548 Happy Woods Road

Hammond, LA 70403

By Facsimile
(Sent no later than 12:00 midnight local time on your
Re-Review or Reconsideration deadline)

(888) 524-1583

By Email
(Sent no later than 12:00 midnight local time on your
Re-Review or Reconsideration deadline)

ClaimForms@deepwaterhorizoneconomicsettlement.com

Visit a Claimant Assistance Center
(Delivered no later than your Re-Review or
Reconsideration deadline)

Assistance Center.

You may take the required information or documents to a Claimant

PAY-1 v.7

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WWW. DEEPWATERHORIZONECONOMICSETTLEMENT.COM

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Claimant ID: 100002412
Claim ID: 1779

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EXPLANATION OF CLAIM ATTACHMENT

A. CLAIMANT SUMMARY

Industry =F ; ;
Designation Non-Tourism Optimum Benchmark Period 2008/ 2009 Benchmark Period
Economic Optimum Step 1
Loss Zone Zone D Compensation Period June 2010 to September 2010
Risk

Optimum Step 2
Transfer 0.25 . . May 2010 to October 2010
Premium Compensation Period

B. TOTAL CALCULATED LOSS SUMMARY

The compensation framework for Business Economic Loss claims compares the actual profit of a business during a
defined post-Spill period in 2010 to the profit that the business might have expected to earn in the comparable
post-Spill period of 2010. The compensation calculation is divided into two steps. Total Compensation is
calculated by adding Step 1 Compensation and Step 2 Compensation, applying the appropriate Risk Transfer
Premium based on your Industry Designation and Economic Loss Zone, and subtracting any applicable payments
you have received from BP or the GCCF pursuant to BP’s OPA claims process, as well as any VoO Settlement
Payment Offset and VoO Eamed Income Offset. The Step 1 Compensation Calculation and Step 2 Compensation
Calculation are illustrated in greater detail below in Sections C and D, respectively.

We have reviewed all the documentation and information you submitted to determine the Benchmark Period and
Compensation Periods that maximize your recovery, even if those periods differ from the periods you selected.
These are the Optimum Benchmark Period, Optimum Step 1 Compensation Period and Optimum Step 2
Compensation Period set forth in Section A above. Column A below shows the actual calculation of your Total
Calculated Loss, based on the most beneficial Benchmark and Compensation Periods. Column B below shows a
hypothetical calculation of what your Total Net Compensation would have been if we had used the Benchmark and
Compensation Periods that you selected on the Claim Form. If you left these selections on the Claim Form blank
or selected “Claims Administrator Selected Benchmark Period,” then Column B defaults to “Not Selected.”

To view a copy of the Compensation Calculation Schedules prepared by DWH Accountants that illustrate this
calculation in even greater detail, you can click the View button on the Eligibility Notice screen on the DWH Portal.
If you do not use the DWH Portal, you must call the Claimant Communications Center at 1-800-353-1262 to
request a copy of this document.

(A) (B)
Total Compensation Claims Administrator Claimant Selected
Selected Periods Periods
Step 1 Compensation: from Row 5 in Section C, Step 1 Net
1. Compensation $142,576.07 $40,695.20
Step 2 Compensation: from Row 1 in Section D, Step 2 Net
2. Compensation $0.00 $0.00
3. | Compensation Amount: sum of Rows 1 and 2 $142,576.07 $40,695.20
4. | Risk Transfer Premium: 0.25
5. | Risk Transfer Premium Amount: Row 3 times Row 4 $35,644.02 $10,173.80
Accounting Support Reimbursement: See Claimant
6. | Accounting Support Reimbursement Attachment for additional $530.30
details, if applicable.
7. | Compensation Prior to Offsets: sum of Rows 3, 5 and 6 $178,750.39 $51,399.30
8. | Less Offsets: $28,700.52

WWW. DEEPWATERHORIZONECONOMICSETTLEMENT.COM Claimant ID: 100002412

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BP Payments Offset of $0.00

Real Estate Fund Payments Offset of $0.00
GCCF Payments Offset of $28,700.52

VaO Settlement Payment Offset of $0.00. If you
received an Eligibllity Notice from the Settlement Program for
a VoO Charter Payment claim, this is 50% of the Total
Compensation Amount in that Notice.

VoO Earned Income Offset of $0.00. If you received
payment from the VoO Program, this is 33% of that amount.

$150,049.87 $22,698.78

9. {Total Compensation Amount: Row 7 minus Row 8

C. STEP 1 COMPENSATION CALCULATION

The Step 1 Compensation calculation compensates claimants for any reduction in profit between the Step 1
Compensation Period and the comparable months of the Benchmark Period. We determined your Step 1 Net
Compensation by calculating the difference in Variable Profit between the Optimum Step 1 Compensation Period
and the Variable Profit over the comparable months of the Optimum Benchmark Period. The Step 1 Compensation
Period must include three or more consecutive months between May and December 2010,

Step 1 Net Compensation

Benchmark Period 2010 Compensation Step 1: Lost Variable
Month Variable Profit Period Variable Profit Profit
(a) (b) (c) = (a) — (b)
1. Jun $120,293.00 $69,905.65 $50,387.35
2. Jul $1,437.95 $46,316.25 ($44,878.30)
3. Aug $111,514.04 $27,512.56 $84,001.48
4. Sep $99,137.34 $46,071.80 $53,065.54
5. Total $332,382.33 $189,806.26 $142,576.07
Benchmark Period: 2008/ 2009 Benchmark Period
Month Revenues Variable Expenses Variable Profit
(a) (b) (c) = (a) - (b)
1. Jun $280,470.18 $160,177.18 $120,293.00
2. Jul $164,665.54 $163,227.59 $1,437.95
3. Aug $243,202.02 $131,687.98 $111,514.04
4 Sep $237,728.28 $138,590.94 $99,137.34
5. Total $926,066.02 $593,683.69 $332,382.33
Compensation Period 2010
Month Revenues Variable Expenses Variable Profit
(a) (b) (c) = (a) - (b)
1. Jun $96,811.61 $26,905.96 $69,905.65

WWW.DEEPWATERHORIZONECONOMICSETTLEMENT.COM

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2. Jul $114,097.11 $67,780.86 $46,316.25
3. Aug $61,777.10 $34,264.54 $27,512.56
4. Sep $62,825.24 $16,753.44 $46,071.80
5. Total $335,511.06 $145,704.80 $189,806.26

D. STEP 2 COMPENSATION CALCULATION

The Step 2 Compensation calculation compensates claimants for lost incremental profits the claimant might have
been expected to generate in the absence of the Spill relative to variable profit from the Benchmark Period. This
calculation reflects a Claimant-Specific Factor (not to fall below -2% or exceed +10%) that captures growth or
decline in the pre-Spill months of 2010 compared to the comparable months of the Benchmark Period, and a
General Adjustment Factor of 2%. We calculated your Step 2 Net Compensation by multiplying your monthly
revenues from the Optimum Benchmark Period by the sum of your Claimant-Specific Factor and the General
Adjustment Factor to yield Incremental Revenue. We then multiplied Incremental Revenue by a Variable Margin
Percentage to determine your Step 2 Variable Lost Profit.

Please note that for purposes of the Step 2 Compensation, claimants that commenced operations during the
optimal Benchmark Period will be limited to a General Adjustment Factor of 2%. The Settlement Program will not
apply an additional Claimant-Specific Factor to such claims.

Step 2 Net Compensation
Revenues
Month Claimant General | Incremental | Variable Step 2:
Benchmark | Specific | Adjustment | Revenue Margin % Lost
Period Factor Factor | (d) =(a)x(b (e) Variable Profit
(a) (b) (c) +¢) (f) = (d) x (e)
1. Total (2.00%) 2.00% $0.00 0.00% $0.00
Claimant-Specific Factor Calculation
January February March April Total
1, | Benchmark Period $229,338.10 | $265,678.48 | $159,808.50 | $192,466.89 | $847,291.97
evenue:
2. | 2010 Revenue: $225,785.30 | $202,526.33 | $115,629.74 | $79,450.00 | $623,391.37
3. peas Increase (Decrease) Between 2010 and Benchmark Period : Row 2 minus ($223,900.60)
4. | Pre-Loss 4-Month Trend: Row 3 divided by Row 1 (26.43%)
5. | Calculated Claimant-Specific Factor: (26.43%)
6. | Applied Claimant-Specific Factor: Minimum of -2% and Maximum of +10% (2.00%)

WWW. DEEPWATERHORIZONECONOMICSETTLEMENT.COM

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CLAIMANT ACCOUNTING SUPPORT REIMBURSEMENT ATTACHMENT

A. EXPLANATION OF CLAIMANT ACCOUNTING SUPPORT REIMBURSEMENT

You are eligible for reimbursement of reasonable and necessary accounting fees incurred for work performed on
either the completion of a Claim Form or preparation of supporting documentation (“Claimant Accounting
Support”). Reimbursements for Claimant Accounting Support are capped at the following standard hourly rates:

Individual Claim | Business Claim
Preparation $85 $110
Supervision and Review $130 $160

For business claimants, the total reimbursement may not exceed 2% of the total Economic Damage Compensation
Amount (excluding any applicable Risk Transfer Premium) for business Claims over $50,000.00 with all other claims
limited to $1,000.00. Review and supervision hours may not exceed 25% of total time spent. All business claims,
regardless of the final claim amount, are subject to an overall accounting support reimbursement limit of
$50,000.00.

B. REIMBURSEMENT DETERMINATION

We reviewed the Sworn Written Statement and other supporting materials that you submitted and determined that
you are eligible for reimbursement of accounting fees. The amount of your Claimant Accounting Support
reimbursement is set forth below.

RA HEADRICK, JR, CPA, LLC

Timekeeper Hours Rate Total
Preparer 3.25 $110.00 $357.50
Supervisor 4.50 $160.00 $720.00
Total $1,077.50

Total Reimbursement Amount: $530.30
(This amount may reflect the maximum reimbursement limits explained in this Notice)

PAY-1 v.7 WWW.DEEPWATERHORIZONECONOMICSETTLEMENT.COM Claimant ID: 100002412
VERE) EU SCT A AR Page 9 of 11 Claim ID: 1779
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RE-REVIEW OR RECONSIDERATION REQUEST FORM

DATE OF ELIGIBILITY NOTICE: April 12, 2013
DEADLINE TO SUBMIT FORM: May 13, 2013

I, CLAIMANT AND CLAIM INFORMATION

Last/ Name of Business First Middle
Claimant Name

ROCON INC
Claimant ID 100002412 Claim ID 1779
Claim Type Business Economic Loss
Law Firm E.J. Saad Law Firm

II. OPTIONS FOR RE-REVIEW OR RECONSIDERATION

After receiving this Eligibility Notice, if you choose not to accept your Award Amount, you have the option to seek
Re-Review or Reconsideration, which will result in a new review of your claim based on the additional documents
you submit or new information you provide on this Form.

A. Re-Review. Re-Review is available to you if one or both of the following applies: (1) you have additional
documents to submit in support of your claim; and/or (2) you have filed an IEL, BEL or Seafood claim and
want your claim reviewed for Claimant Accounting Support Reimbursement. If you select Re-Review, we
will review your claim again and you will maintain your Reconsideration rights after you receive your Post-
Re-Review Eligibility Notice.

B. Reconsideration. Reconsideration is available to you even if you do not have additional documents to
submit if you believe the Settlement Program: (1) made a Calculation Error; (2) failed to take into account
relevant information or data; (3) failed to follow the standards in the Settlement Agreement, or (4) made
incorrect deductions for prior BP/GCCF payments.

Use this Form to request Re-Review in Section ITI.A or Reconsideration in Section II.B. NOTE that by requesting
Re-review or Reconsideration you are certifying that you understand that the outcome could change the eligibility of
your claim and that your Settlement Payment could increase, decrease or stay the same.

ITI. REQUEST FOR RE-REVIEW OR RECONSIDERATION
A. RE-REVIEW OPTIONS

You may select one or both Re-Review options below, if they are applicable to you.

I request Re-Review of my entire claim instead of Reconsideration and certify that I am providing
additional documents in support of my claim. I understand that if I have not submitted new
documents at the time of the review the Settlement Program will perform a Reconsideration review,
followed only by the option to appeal if I remain dissatisfied with the outcome.

I request Re-Review for reimbursement for Claimant Accounting Support (“CAS”). By
oj choosing this option, the Settlement Program will only review my claim relating to CAS
reimbursement. CAS is only available for IEL, BEL and Seafood claims.

Provide any additional information you would like the reviewer to have for the Re-Review request (You may attach
additional sheets if necessary):

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PAY-3v.1 WWW.DEEPWATERHORIZONECONOMICSETTLEMENT.COM _Claimant ID: 100002412

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B. RECONSIDERATION OPTIONS

I request Reconsideration instead of Re-Review and understand that I may provide additional

0 documentation in support of my claim. I understand that if I remain dissatisfied with the outcome of

Oo Calculation Error

the claim following Reconsideration, my only option is to appeal the claim. Select the reason(s) you
are requesting Reconsideration from the options below.

oO Failure to take into account relevant information or data
oO Failure to follow the standards in the Settlement Agreement

Oo Incorrect deductions from prior BP/GCCF payments
oO Incorrectly Calculated Claimant Accounting Support Reimbursement

Provide any additional information you would like the reviewer to have for your Reconsideration request (You may

attach additional sheets if necessary):

IV. HOW TO SUBMIT THIS FORM

Submit your Re-Review or Reconsideration Request Form online with any accompanying documents by
uploading them to the DWH Portal. If you do not use the DWH Portal, you may submit your request in any of the
following ways, but be sure to write your Claimant ID on the top page of all the documents you submit.

By Mail
(Postmarked no later than your Re-Review or
Reconsideration deadline)

Deepwater Horizon Economic Claims Center
PO Box 1439
Hammond, LA 70404-1439

By Overnight, Certified or

Registered Mail

(IF mail, postmarked no later than your Re-Review or
Reconsideration deadline; if other overnight delivery,
placed In the custody of an overnight carrer by your
Re-Review or Reconsideration deadline)

Deepwater Horizon Economic Claims Center
Claims Administrator

42548 Happy Woods Road

Hammond, LA 70403

By Facsimile
(Sent no later than 12:00 midnight local time on your
Re-Review or Reconsideration deadline)

(888) 524-1583

By Email
(Sent no later than 12:00 midnight local time on your
Re-Review or Reconsideration deadline)

ClaimForms@deepwaterhorizoneconomicsettlement.com

Visit a Claimant Assistance Center
(Delivered no later than your Re-Review or
Reconsideration deadline)

You may take the required information or documents to a Claimant
Assistance Center.

PAY-3 v.1 WWW.DEEPWATERHORIZONECONOMICSETTLEMENT.COM _— Claimant ID: 100002412

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INSTRUCTIONS FOR COMPLETING THE FULL AND FINAL RELEASE, SETTLEMENT,

AND COVENANT NOT TO SUE

This is an official communication from the Claims Administrator for the Deepwater Horizon Economic and Property
Damages Settlement Program (“Settlement Program”). We processed your claim and determined that you qualify
for a Settlement Payment (“Payment”) for one or more of the claims you submitted. To receive your Payment, you
must sign the attached Full and Final Release, Settlement, and Covenant Not to Sue (“Release”) and return it to

us.

Release Cover Sheet. The Release Cover Sheet contains information you previously submitted. If any of
the information on the Release Cover Sheet is incorrect or missing, correct or provide the missing information
directly on the Release Cover Sheet and return it to us using one of the methods set out in Section 8 below.

Required Signatures for Individual Claimants. You must sign this Release personally in three places—
Page 3, Page 14, and Page 20. If you are married, your spouse must sign personally in each place as well. If
you are signing as the personal representative, guardian, trustee or other authorized representative of an
individual claimant, or if you are the bankruptcy Trustee for a claimant who is a party in an open bankruptcy
proceeding, sign the claimant’s name and your name in the claimant signature section. The signature must
read “(claimant’s name], by [your signature].” Also complete Section III of the Release Cover Sheet and
submit to us the required documentation demonstrating your authority to sign on behalf of the claimant, if
you have not already done so.

Required Signatures for Business Claimants. Business Claimants must designate an authorized
signatory who may sign on behalf of the business. The authorized signatory must sign in three places—Page
3, Page 14, and Page 20. If the business is a sole proprietorship and the sole proprietor is married, or if
spouses jointly own a business and filed a claim for that business, both spouses must sign in each place as
well. If you are signing as the trustee or authorized representative for a dissolved business or a business that
is the current subject of an open bankruptcy proceeding, print the business’s claimant’s name and then sign
your name in the claimant signature section. The signature must read “[business name], by [signer’s
name].” Also complete Section [II of the Release Cover Sheet and submit the required documentation
demonstrating your authority to sign on behalf of the claimant, if you have not already done so.

Consult with your Attorney. The Release affects your legal rights, and by signing the Release you are
giving up your right to sue BP and other parties. Read these Instructions and the Important Information

section before signing this Release. If you are represented by an attorney in connection with your claim,

consult with your attorney regarding the terms of the Release.

Original Release Required. Return the original, signed Release to us. We cannot accept facsimiles, PDFs,
or copies of a signed Release. You must return all 20 pages of the Release (the Cover Page through
Attachment B) before we can pay your claim.

No Modifications and No Deletions. Do not strike through or otherwise try to alter any of the language
in the Release, except for corrections to information that you make on the Release Cover Sheet. If you alter
the Release or fail to submit all 20 pages of the Release, we will not be able to pay your claim. No contractual
agreement to settle your claim arises until we receive a properly signed Release.

Additional Requirements for Claimants Electing Structured Settlements, {f you are electing to
receive a structured settlement for all or part of your Payment, then you must follow the instructions on your
Eligibility Notice. A Court-approved structured settlement broker must submit this Release to the Claims
Administrator on your behalf, together with Attachment C (which contains terms and requirements applicable
to structured settlements). If you fail to follow the instructions on your Eligibility Notice, or if this Release
and Attachment C to the Release (including all required signatures, information and documentation) are not
submitted on your behalf by a Court-approved structured settlement broker by the Deadline Date on your

Eligibility Notice, then you will not be eligible to receive a structured settlement.

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Deepwater Horizon Settlement Release and Covenant Not to Sue Claimant ID: 100002412

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Submission of Original Signed Release. Submit the entire original signed Release and any required
documentation in one of the following ways:

By Mail:

Deepwater Horizon Economic Claims Center

PO Box 1439
Hammond, LA 70404-1439

8. By Overnight Delivery, Certified or Registered Mail

Deepwater Horizon Economic Claims Center

c/o Claims Administrator

42548 Happy Woods Road

Hammond, LA 70403

Visit a Claimant Assistance Center:

You may take the signed Release to a Claimant Assistance Center.

Visit www.deepwaterhorizoneconomicsettiement.com for a list of Claimant Assistance
Centers or call 1-866-992-6174.

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RELEASE COVER SHEET

I. INDIVIDUAL CLAIMANT INFORMATION

Last FArst Middle Inittat
Name:
Social Security Number/ Individual Taxpayer Identification Number:

Last First Middte Initia!
Spouse Name:

Spouse Social Security Number/ Individual Taxpayer Identification Number:

II. BUSINESS CLAIMANT INFORMATION

Name of Business:

ROCON INC

Employer Identification Number/ Social Security Number:

63-269 [2/7

Authorized Business

Last

AoB i Sot/

Airst Middle Initial

Wiseiam dD.

Representative: Title
PRES IDET 42 /-70-3VSS
Authorized Busi R tative Sacial S ity Numb Individual T:
ee one Represen ive Social Security Number/ Individual Taxpayer 4 2 / -7 O _ FHF 5
Last Ast Middle Initial
Spouse Name: N owe
Spouse Social Security Number/ Individual Taxpayer Identification Number: NV 2B

III. INFORMATION ABOUT THE CLAIMANT REPRESENTATIVE

If the claimant is: (1) deceased; (2) a minor; or (3) incompetent and legally unable to sign for himself or herself, you must
submit documentation to the Claims Administrator showing your authority to act on behalf of the claimant, if you have not
already done so. See Section 4 of the Registration Form Instructions Booklet for a description of the required documentation.

Last

First

Middle Initial

Representative
Name:
Representative Social Security Number/ Individual Taxpayer Identification
Number:
. . CJ Deceased C1 Incompetent C Declared Bankrupt (or currently undergoing Bankruptcy
The claimant is: . . Proceedings)
DA Minor CA Dissolved Business 9

Source of your
authority to act as |L] Court Order 1 Power of Attorney [1 Letters of Administration
Representative for |] Tutorship CI Conservatorship C1 Guardianship OC) Other (specify):
the claimant:

IV. PAYMENT INFORMATION
Claimant ID: 100002412 Claim Type: Business Economic Loss
Claim ID: 1779 Payment Amount: $150,049.87

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IMPORTANT INFORMATION ABOUT THE ATTACHED FULL AND FINAL RELEASE,
SETTLEMENT, AND COVENANT NOT TO SUE

All claimants have the right to consult with an attorney of their own choosing prior to accepting any
settlement payment or signing a release of legal rights. If you are represented by an attorney in
connection with your claim, confer with your attorney before signing this document.

The attached Full and Final Release, Settlement, and Covenant Not to Sue (“Individual Release”) is a binding legal
document. By signing this document, you are forever waiving and releasing all claims that you may have against BP
or any other party in connection with the Deepwater Horizon Incident (as defined in the Individual Release) except
for Expressly Reserved Claims (as defined in the Individual Release).

By signing the attached Individual Release, you are forever giving up and discharging any rights that
you may have for any costs, damages, causes of actions, claims, or other relief related to or arising
from the Deepwater Horizon Incident except for Expressly Reserved Claims even if you are not
currently aware of such costs or damages and even if such costs or damages arise in the future (i.e.,
additional oil impacts) or do not manifest themselves until the future.

By signing the attached Individual Release, you acknowledge that you have read and understand the terms of the
Individual Release, and that you execute the Individual Release voluntarily and without being pressured or
influenced by, and without relying upon, any statement or representation made by any person acting on behalf of
BP or any other released party.

The settlement payment you have been offered arises under the auspices of the federal District Court in New
Orleans presiding over the multidistrict litigation titled In re Oil Spill by the Oil Rig “Deepwater Horizon” in the Gulf
of Mexico, on April 20, 2010 (MDL No. 2179). A class action settlement has been proposed in that case, but the
Court has not yet given final approval of that proposed settlement. If the Court does approve the proposed class
action settlement, an appellate court could reverse the approval. In addition, it is possible that the terms of the
proposed settlement may change in the future—for better or for worse—as a result of further legal proceedings.
However, if you sign this Individual Release, none of those uncertain future events will affect you. By signing this
Individual Release you are forever waiving and releasing all claims that you may have against BP
(except for Expressly Reserved Claims) in exchange for the compensation being provided. In fact, even
if the Court does not approve the proposed class action settlement agreement or the approval is reversed by an
appellate court, you shall continue to be bound by this Individual Release.

For a Business Claimant, if the business is a sole proprietorship and you are the owner and you are married, or if
the business is jointly owned by you and your spouse, both you and your spouse must sign the Individual Release.
For an Individual Claimant, if you are married, both you and your spouse must sign the Individual Release. You and
your spouse should not sign the Individual Release unless you both intend to release and give up all of your claims.

By signing below, you acknowledge that you have read and understand the information above. You elect to accept
the payment as a final settlement of all claims against any party in connection with the Deepwater Horizon Incident
except for Expressly Reserved Claims. You consent to the use and disclosure by the Claims Administrator and those
assisting the Claims Administrator of any information that the Claims Administrator believes necessary and/or
helpful to process your claim for compensation and payment and to any legitimate business purposes associated
with administering the settlement facility. Finally, you consent to the Claims Administrator providing documentation
and information to Lead Class Counsel, BP, and the Court as provided for in the Settlement Agreement.

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ACKNOWLEDGEMENT

I/We acknowledge that I/we have read and understand the information above. I/We consent to the claimant’s
election to accept the payment as a final settlement of all claims of claimant against any party in connection with
the Deepwater Horizon Incident except for Expressly Reserved Claims.

Signature of Claimant Date *
Nowe
Signature of Claimant’s Spouse Date
REL-t Deepwater Horizon Setttement Release and Covenant Not to Sue Claimant ID: 100002412
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FULL AND FINAL RELEASE, SETTLEMENT, AND COVENANT NOT TO SUE

1. Definitions, For purposes of this Individual Release, the following definitions shall apply, and in the case
of defined nouns, the singular shall include the plural and vice versa:

(a) “Affiliate” means with respect to any Natural Person or Entity, any other Natural Person or
Entity that directly or indirectly, through one or more intermediaries, controls, or is controlled by, or
is under common control with, such Natural Person or Entity.

(b) “Assigned Claims” means the claims defined in Exhibit 21 to the Settlement Agreement.

(c) “Bodily Injury Claims” means claims and damages, including lost wages, for or resulting from
personal injury, latent injury, future injury, progression of existing injury, damage, disease, death,
fear of disease or injury or death, mental or physical pain or suffering, or emotional or mental harm,
anguish or loss of enjoyment of life, including any claim for mental health injury, arising out of, due
to, resulting from, or relating in any way to, directly or indirectly, the Deepwater Horizon
Incident.

(d) “BP” means BP Exploration & Production Inc., BP America Production Company, BP America Inc., BP
Company North America Inc., BP Corporation North America Inc., BP Corporation North America Inc.
Savings Plan Investment Oversight Committee, BP Energy Company, BP Exploration (Alaska) Inc., BP
Global Special Products (America) Inc., BP Holdings North America Limited, BP p.|.c., BP Products
North America Inc., and each of their respective direct or indirect parents, subsidiaries and subsidiary
undertakings (as those terms are defined in the U.K. Companies Act 2006), Affiliates, divisions, and
business units.

(e) “Claim” means any demand or request for compensation (other than Bodily Injury Claims or
Expressly Reserved Claims), together with any properly completed forms and accompanying
required documentation, submitted by a Claimant to the Settlement Program.

(f) “Claimant” means any Natural Person or Entity that submits a Claim to the Settlement
Program seeking compensation as a member of the Economic Class.

(g) “Claims Administrator” is the person Court-appointed in the MDL Action to administrator this
Settlement Program and that person’s agents.

(h) “Coastal Real Property” means property in the Coastal Real Property Claim Zone.

(i) “Coastal Real Property Claim Framework’ means that process described in the document
captioned Coastal Real Property Claim Framework, attached as Exhibit 11A to the Settlement
Agreement.

(j) “Coastal Real Property Claim Zone” means the areas identified on the Coastal Real Property
Compensation Zone Map included with the Coastal Real Property Claim Framework.

(k) “Coastal Real Property Damage” means a loss to Real Property claimed to have been suffered
by a Coastal Real Property owner or lessee in the Coastal Real Property Claim Zone allegedly
arising out of, due to, resulting from, or relating in any way to, directly or indirectly, the Deepwater
Horizon Incident that is separate from Seafood Compensation Program, Economic Damage,
Real Property Sales Damage, Wetlands Real Property Damage, VoO Charter Payment,
Vessel Physical Damage and Subsistence Damage, and is more fully described in Exhibit 11A to
the Settlement Agreement.

(I) “Compensatory Damages” means any and all forms of damages, known or unknown, intended to
or having the effect of satisfying, compensating, or reimbursing Claimant’s claims for actual
economic or pecuniary costs, expenses, damages, liability, or other losses or injuries arising out of,

REL-1 Deepwater Horizon Settlement Release and Covenant Not to Sue Claimant ID: 100002412

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due to, resulting from, or relating in any way to, directly or indirectly, the Deepwater Horizon
Incident, regardless of what such damages are designated, called or labeled. Compensatory
Damages do not include and may not be interpreted to have any overlap with punitive, exemplary,
multiple, or non-compensatory damages. Bodily Injury Claims (including wrongful death) are not
included in Compensatory Damages. Claims of BP shareholders in any derivative or direct action
solely in their capacity as BP shareholders are not included in Compensatory Damages. BP and
Claimant acknowledge and agree that the term Compensatory Damages as defined and used
herein does not limit the amounts to be used for the calculation of punitive or other non-
compensatory damages in any current or future litigation pursued by Claimant. Nothing herein shall
be deemed to limit Claimant’s rights to pursue Moratoria Losses or other claims expressly reserved
against BP under Section 3 of the Settlement Agreement.

“Damages” means all forms of damages defined as broadly as possible without exception, including
losses, costs, expenses, taxes, requests, royalties, rents, fees, profits, profit shares, earning capacity,
loss of subsistence, damages to real or personal property, diminution in property value, punitive
damages, exemplary damages, multiple damages, non-compensatory damages, Compensatory
Damages, economic damages, injuries, liens, remedies, debts, claims, causes of action, or liabilities.

“Deepwater Horizon Economic Litigation” means all Claims brought by Claimant or any
Economic Class Member for damage covered by the Seafood Compensation Program, Coastal
Real Property Damage, Economic Damage, Real Property Sales Damage, Subsistence
Damage, VoO Charter Payment, Vessel Physical Damage or Wetlands Real Property
Damage allegedly arising out of, due to, resulting from, or relating in any way to, directly or
indirectly, the Deepwater Horizon Incident, in the MDL Action.

“Deepwater Horizon Incident” means the events, actions, inactions and omissions leading up to
and including: (i) the blowout of the MC252 Well; (ii) the explosions and fire on board the
Deepwater Horizon on or about April 20, 2010; (iii) the sinking of the Deepwater Horizon on or about
April 22, 2010; (iv) the release of oil, other hydracarbons and other substances from the MC252 Well
and/or the Deepwater Horizon and its appurtenances; (v) the efforts to contain the MC252 Well:
(vi) Response Activities, including the VoO Program; (vii) the operation of the GCCF; and (viii)
BP public statements relating to all of the foregoing.

“DHOST” means the Deepwater Horizon Oil Spill Trust, which is the irrevocable common law trust
established under Delaware law in accordance with the trust agreement titled “Deepwater Horizon Oil
Spill Trust” dated August 6, 2010, and entered into among BP Exploration & Production Inc.; John S.
Martin, Jr. and Kent D. Syverud, as individual trustees; and Citigroup Trust- Delaware, N.A., as
corporate trustee.

“Economic Class” means the Economic and Property Damages Settlement Class.

“Economic Damage” means loss of profits, income, and/or earnings arising in the Gulf Coast
Areas or Specified Gulf Waters allegedly arising out of, due to, resulting from, or relating in any
way to, directly or indirectly, the Deepwater Horizon Incident; provided, however, that Economic
Damage does not include: (1) loss of profits or earnings, or damages for injury relating to Real
Property or personal property that constitutes any part of the Seafood Compensation Program,
Coastal Real Property Damage, Real Property Sales Damage, Wetlands Real Property
Damage, Vessel Physical Damage; (2) VoO Charter Payment; or (3) damages for loss of
Subsistence use of natural resources, which constitutes Subsistence Damage.

“Entity” means an organization or entity, other than a Governmental Organization, operating or
having operated for profit or not-for-profit, including a partnership, a corporation, a limited liability
company, an association, a joint stock company, a trust, a joint venture or an unincorporated
association of any kind or description.

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“Expressly Reserved Claims” means the following Claims that are not recognized or released
under this Individual Release, and are reserved to Claimant: (1) Bodily Injury Claims; (2)
claims of BP shareholders in any derivative or direct action solely in their capacity as BP
shareholders; (3) claims of Natural Persons and Entities for Moratoria Losses; (4) claims relating
to menhaden (or “pogy”) fishing, processing, selling, catching, or harvesting; (5) claims for
Economic Damage suffered by Entities or employees (to the extent they allege Economic
Damage based on their employment by such an Entity during the Class Period) in the Banking,
Gaming, Financial, Insurance, Oil and Gas, Real Estate Development, and Defense Contractor
Industries, and entities selling or marketing BP-branded fuel, including jobbers and branded
retailers, as defined in the Settlement Agreement; (6) claims for punitive or exemplary damages
against Halliburton and Transocean subject to the provisions of Section 11 of the Settlement
Agreement; and (7) the rights of the Claimant to recover additional benefits from the Economic
Class secured by virtue of the efforts of the Economic Class to pursue Assigned Claims, again
subject to the provisions of Section 11 of the Settlement Agreement.

“Finfish” means fish other than shellfish and octopuses.
"Game’ includes nutria, mink, otters, raccoons, muskrats, alligators, and other wildlife.
“GCCF” means the Gulf Coast Claims Facility.

“Governmental Organization” means: (a) the government of the United States of America; (b) any
state or local government; (c) any agency, branch, commission, department, or unit of the
government of the United States of America or of any state or local government; or (d) any Affiliate
of, or any business or organization of any type that is owned in whole or in part to the extent of at
least 51% by the government of the United States of America or any state or local government, or
any of their agencies, branches, commissions, departments, or units.

“Gulf Coast Areas” means the States of Louisiana, Mississippi, and Alabama; the counties of
Chambers, Galveston, Jefferson and Orange in the State of Texas; and the counties of Bay, Calhoun,
Charlotte, Citrus, Collier, Dixie, Escambia, Franklin, Gadsden, Gulf, Hernando, Hillsborough, Holmes,
Jackson, Jefferson, Lee, Leon, Levy, Liberty, Manatee, Monroe, Okaloosa, Pasco, Pinellas, Santa Rosa,
Sarasota, Taylor, Wakulla, Walton and Washington in the State of Florida, including all adjacent Gulf
waters, bays, estuaries, straits, and other tidal or brackish waters within the States of Louisiana,
Mississippi, Alabama or those described counties of Texas or Florida.

“Halliburton” means Halliburton Energy Services, Inc. and all and any of its Affiliates, other than
any Natural Person or Entity that is also an Affiliate of any of the Released Parties as of April
16, 2012.

“Halliburton Parties” shall mean Halliburton (including all persons, entities, subsidiaries, divisions
and business units comprised thereby); each of Halliburton’s respective past, present and future
directors, officers, employees, general or limited partners, members, joint venturers, and
shareholders, and past, present and future spouses, heirs, beneficiaries, estates, executors,
administrators, personal representatives, attorneys, agents, trustees, insurers, reinsurers,
predecessors, successors, indemnitees, assigns, Affiliates; any natural, legal or juridical person or
entity acting on behalf of or having liability in respect of Halliburton, in their respective capacities as
such; and the federal Oil Spill Liability Trust Fund and any state or local fund, and each of their
respective Affiliates including their officers, directors, shareholders, employees, and agents.

“Incompetent Claimant” means a Natural Person who lacks the capacity to enter into a contract
on his or her behalf at the time this Individual Release is executed, in accordance with the state
laws of that person’s domicile as applied to adult capacity issues, whether through power of attorney
agency documents, guardianship, conservatorship, tutorship, or otherwise.

“Individual Release” means this Full and Final Release, Settlement, and Covenant Not to Sue.

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(dd) “MC252 Well” means the exploratory well named “Macondo” that was being drilled by the
Transocean Marianas and Deepwater Horizon rigs in Mississippi Canyon, Block 252 on the outer
continental shelf in the Gulf of Mexico, approximately 130 miles southeast of New Orleans, Louisiana.

(ee) “MDL Action” means the federal multidistrict litigation pending before the United States
District Court for the Eastern District of Louisiana, titled, Jn re: Oil Spill by the Oil Rig "Deepwater
Horizon” in the Gulf of Mexico, on April 20, 2010 (MDL No. 2179).

(ff) “Minor Claimant” means a Natural Person whose age is below that of the majority rule for the
State in which the minor resides at the time this Individual Release is executed.

(gg) “Moratoria Loss” means any loss whatsoever caused by or resulting from federal regulatory action
or inaction directed at offshore oil industry activity — including shallow water and deepwater activity
— that occurred after May 28, 2010, including the federal moratoria on offshore permitting and
drilling activities imposed on May 28, 2010 and July 12, 2010 and new or revised safety rules,
regulations, inspections, or permitting practices.

(hh) “Natural Person” means a human being, and includes the estate of a human being who died on or
after April 20, 2010. For purposes of this Individual Release, a Natural Person that is the estate
of a human being who died on or after April 20, 2010, a Minor Claimant or Incompetent
Claimant, shall be deemed to act through his, her or its Representative.

(ii) "OPA” means the Oil Pollution Act of 1990, 33 U.S.C. § 2701, et seg.
(jj) “Other Party” means every person, entity, or party other than the Released Parties.
(kk) “Other Released Parties” means Released Parties other than BP.

(Il) “Real Property” means land, including improvements thereon, and property of any nature
appurtenant or affixed thereto.

(mm) “Real Property Sales Compensation Zone” shall be defined as Residential Parcels identified in
the Real Property Compensation Zone Map.

(nn) “Real Property Compensation Zone Map” means the map(s) attached as Exhibit 13B to the
Settlement Agreement.

(00) “Real Property Sales Damage” means damages for realized damage on the sale of Residential
Parcels arising out of, due to, resulting from, or relating in any way to, directly or indirectly, the
Deepwater Horizon Incident.

(pp) “Released Claims” means all claims arising out of, due to, resulting from, or relating in any way to,
directly or indirectly, the Deepwater Horizon Incident, including any and all actions, claims, costs,
expenses, taxes, rents, fees, profit shares, liens, remedies, debts, demands, liabilities, obligations, or
promises of any kind or nature whatsoever, in both law or in equity, past or present, whether known
or unknown, including claims for any and all Unknown Claims or damages, future injuries, damages
or losses not currently known, but which may later develop, provided they arise out of, are due
to,result from, or relate in any way to, directly or indirectly, the Deepwater Horizon Incident, and
regardless of the legal or equitable theory, arising under any source of law whether international,
federal, state, or local, and regardless of whether pursuant to statutory law, codal law, adjudication,
quasi-adjudication, regulation, or ordinance, including common law, maritime or admiralty, statutory
and non-statutory attorneys’ fees, breach of contract, breach of any covenant of good faith and/or fair
dealing, fraud, misrepresentation, fraudulent concealment, deception, consumer fraud, antitrust,
defamation, tortious interference with contract or business expectations, loss of business expectations
or opportunities, loss of employment or earning capacity, diminution of property value, violation of the
federal Racketeer Influenced and Corrupt Organizations Act or any similar state law,

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violations of any consumer protection act, punitive damages, exemplary damages, multiple damages,
non-compensatory damages, Compensatory Damages, pain and suffering, interest, injunctive
relief, declaratory judgment, costs, deceptive practices, unfair business practices, regulation, strict
liability, negligence, gross negligence, willful misconduct, nuisance, trespass, fraudulent concealment,
statutory violations, including OPA or other statutory claims, unfair business practices, breach of
fiduciary duty, and all other theories whether existing now or arising in the future, arising out of, due
to, resulting from, or relating in any way to, directly or indirectly, the Deepwater Horizon
Incident. Released Claims shall not include Expressly Reserved Claims.

(qq) “Released Parties,” for purposes of the Released Claims, means: (i) BP (including all
persons, entities, subsidiaries, divisions and business units comprised thereby); together with (ii)
DHOST,; (iii) the persons, entities, divisions, and business units listed on Attachment A; (iv) each of
BP’s and the Other Released Parties’ respective past, present and future directors, officers,
employees, general or limited partners, members, joint venturers, and shareholders, and their past,
present and future spouses, heirs, beneficiaries, estates, executors, administrators, personal
representatives, attorneys, agents, trustees, insurers, reinsurers, predecessors, successors,
indemnitees, assigns; (v) any natural, legal or juridical person or Entity acting on behalf of or having
liability in respect of BP or the Other Released Parties, in their respective capacities as such; and
(vi) the federal Oil Spill Liability Trust Fund and any state or local fund, and, as to i-vi above, each of
their respective Affiliates including their Affiliates’ officers, directors, shareholders, employees, and
agents. Released Parties will also include any vessels owned or chartered by any Released Party
(except for the Deepwater Horizon itself). Notwithstanding anything herein to the contrary, in no
event shail any of the following be deemed to be a Released Party: Transocean or Halliburton.
Claimant specifically reserves its rights for punitive and exemplary damages against Transocean
and Halliburton subject to the provisions of Paragraph 11 of the Settlement Agreement.
Furthermore, nothing herein shall impair the rights of the Claimant to recover additional benefits
from the Economic Class secured by virtue of the efforts of the Economic Class to pursue
Assigned Claims, again subject to the provisions of Paragraph 11 of the Settlement Agreement.

(rr) “Residential Parcels” means those parcels within the Real Property Sales Compensation Zone
for which the county where the parcel is located has designated the parcel as a residential
classification.

(ss) “Response Activities” means the clean up, remediation efforts, and all other responsive actions
(including the use and handling of dispersants) relating to the releases of oil, other hydrocarbons and
other pollutants from the MC252 Well and/or the Deepwater Horizon and its appurtenances and the
Deepwater Horizon Incident.

(tt) “Seafood” means fish and shellfish, including shrimp, oysters, crab, and Finfish, caught in the
Specified Gulf Waters. Seafood shall exclude menhaden.

(uu) “Seafood Compensation Program” means the program defined in Section 5.2 of the Settlement
Agreement.

(w) “Settlement Agreement” means the Economic and Property Damages Settlement Agreement.

(ww) “Settlement Program” means the Deeowater Horizon Court Su pervised Settlement Program created
pursuant to the Settlement Agreement.

(xx) “Settlement Trust” means the Deepwater Horizon Economic and Property Damages Trust created
pursuant to the Settlement Agreement.

(yy) “Specified Gulf Waters” means the U.S. waters of the Gulf of Mexico and all adjacent bays,
estuaries, straits, and other tidal or brackish waters within the Gulf Coast Areas, as specifically shown
and described in Exhibit 23 to the Settlement Agreement.

(2Z) “Subsistence” means fishing or hunting to harvest, catch, barter, consume or trade Gulf of Mexico
natural resources (including Seafood and Game), in a traditional or customary manner, to sustain
basic personal or family dietary, economic security, shelter, tool, or clothing needs.

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(aaa) “Subsistence Damage” means a loss of value of Subsistence use of natural resources alleged to
arise out of, result from or relate in any way to, directly or indirectly, the Deepwater Horizon
Incident.

(bbb) “Transocean” means Transocean Ltd., Transocean, Inc., Transocean Offshore Deepwater Drilling
Inc., Transocean Deepwater Inc., Transocean Holdings LLC, Triton Asset Leasing GmbH and all and
any of their Affiliates, other than any Natural Person or Entity that is also an Affiliate of any of
the Released Parties.

(ccc) “Transocean Parties” means Transocean (including all persons, entities, subsidiaries, divisions and
business units comprised thereby); each of Transocean’s respective past, present and future
directors, officers, employees, general or limited partners, members, joint venturers, and
shareholders, and past, present and future spouses, heirs, beneficiaries, estates, executors,
administrators, personal representatives, attorneys, agents, trustees, insurers, reinsurers,
predecessors, successors, indemnitees, assigns, Affiliates; any natural, legal or juridical person or
entity acting on behalf of or having liability in respect of Transocean, in their respective capacities as
such; and the federal Oil Spill Liability Trust Fund and any state or local fund, and each of their
respective Affiliates including their officers, directors, shareholders, employees, and agents.

(ddd) “Unknown Claims” and damages or not currently known claims and damages (whether or not
Capitalized) means all past, present, and future claims and damages arising out of facts, including new
facts or facts found hereafter to be other than or different from the facts now believed to be true,
arising out of, due to, resulting from, or relating in any way to, directly or indirectly, the Deepwater
Horizon Incident covered by this Individual Release that Claimant does not, in whole or in part,
Know or suspect to exist and which, if known by them, might have affected their decision to provide
such Individual Release, including all claims arising out of new facts or facts found hereafter to be
other than or different from the facts now believed to be true.

(eee) “Vessel Physical Damage” means physical damage that was sustained by an eligible Claimant's
eligible vessel due to or resulting from the Deepwater Horizon Incident or the Deepwater Horizon
Incident response cleanup operations, including the VoO Program, that were consistent with the
National Contingency Plan or specifically ordered by the Federal On-Scene Coordinator or delegates
thereof.

(fff) | “VoO Charter Payment” means a loss alleged by a VoO Charter Payment Claimant for any
payment or compensation related to participation in the VoO Program that satisfies the
requirements set forth in Section 5.5 of the Settlement Agreement.

(ggg) “VoO Charter Payment Claimant” means an Economic Class Member claiming to have suffered a
VoO Charter Payment loss.

(hhh) “VoO Master Vessel Charter Agreement” means the standard agreements utilized by BP and its
agents or subcontractors to charter the vessels available for work or service in connection with the
VoO Program.

(iii) “VoO Program” means the program through which vessel owners performed work for BP or BP’s
authorized agents pursuant to the terms of the VoO Master Vessel Charter Agreement.

Gjj) | “Wetlands Real Property Claim Framework” means the rules described in the document
captioned Wetlands Real Property Claim Framework, attached to the Settlement Agreement as
Exhibits 12A-12B.

(kkk) “Wetlands Real Property Claimant” means an Economic Class Member claiming to have
suffered Wetlands Real Property Damage.

(ll) “Wetlands Real Property Damage” means a loss alleged by a Wetlands Real Property
Claimant that satisfies the requirements set forth in the Wetlands Real Property Claim

Framework.
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2. Release. In consideration of (i) payment in the amount of $150,049.87 (which payment shall be
distributed from the Settlement Trust through the Court-appointed Claims Administrator and the
Settlement Program and, if Claimant is electing to receive a structured settlement, all or a portion of
which shall be distributed in accordance with the terms set forth on Attachment C to this Individual
Release), (ii) previous payments for Claims referenced and released herein, and (iii) the right to receive
additional Settlement Payment(s) for any additional Claims, if any, pursuant to the terms of Section 4.4.8 of
the Settlement Agreement (if Claimant is electing to receive a structured settlement, all or a portion of which
Shall be distributed in accordance with the terms set forth on Attachment C to this Release), which
Claimant accepts as sufficient and adequate consideration for any and all Released Claims, Claimant, on
behalf of Claimant and Claimant’s heirs, beneficiaries, estates, executors, administrators, personal
representatives, agents, trustees, insurers, reinsurers, subsidiaries, corporate parents, predecessors,
successors, indemnitors, subrogees, assigns, and any natural, legal or juridical person or entity entitled to
assert any claim on behalf of or in respect of any Claimant, hereby releases and forever discharges with
prejudice, and covenants not to sue, the Released Parties for any and all Released Claims; provided,
however, that this Individual Release does not apply to, and the term Released Claims does not include,
Expressly Reserved Claims. In the event a Released Party is sold or otherwise transferred to or
purchases or otherwise acquires, or enters into a partnership or joint venture with, a Natural Person or Entity
that is not otherwise a Released Party immediately prior to giving effect to such transaction, then the non-
Released Party shall as a result of such transaction obtain a benefit under this Individual Release only
with respect to any liability of the Released Party that it, or any such partnership or joint venture, has
acquired or assumed or otherwise become liable for, and not in its own right.

3. Release Is Comprehensive. Claimant agrees and acknowledges that the consideration granted in
Paragraph 2 above constitutes full, complete, and total satisfaction of all of the Released Claims against the
Released Parties. In addition, Claimant agrees and acknowledges that the consideration granted in
Paragraph 2 above also constitutes full, complete, and total satisfaction of all of Claimant’s Compensatory
Damage Claims against the Transocean Parties and the Halliburton Parties.

4. Non-General Release. Claimant expressly waives and releases with prejudice, and shail be deemed to
have waived and released with prejudice, any and all rights that it may have under any law, codal law,
statute, regulation, adjudication, quasi-adjudication, decision, administrative decision, or common law
principle that would otherwise limit the effect of the Individual Release to those claims or matters actually
known or suspected to exist at the time of execution of the Individual Release. California law is not
applicable to this Individual Release, but purely for illustrative purposes the Released Claims include, but
are nat limited to the release of claims provided for in Section 1542 of the California Civil Code, which
provides as follows: “A general release does not extend to claims which the creditor does not know or suspect
to exist in his or her favor at the time of executing the release, which if known by him or her must have
materially affected his or her settlement with the debtor. ”

5. ibution r ij ity. This Individual Release is not intended to prevent BP from
exercising its rights of contribution, subrogation, or indemnity under OPA or any other law, including its rights
of assignment regarding Assigned Claims as set forth in Exhibit 21 to the Settlement Agreement. BP is
hereby subrogated to any and all rights that the Economic Class Members, or any of them, may have had
or have arising out of, due to, resulting from, or relating in any way to, directly or indirectly, the Deepwater
Horizon Incident under OPA. All such rights of BP to contribution, indemnity, and subrogation, and BP’s
subrogation to the rights of Economic Class Members, are subject to the provisions regarding Assigned
Claims in Exhibit 21 to the Settlement Agreement.

6. Consideration. Claimant agrees that this Individual Release is entered into in consideration of the
agreements, promises, and mutual covenants set forth in this Individual Release and for such other good
and valuable consideration the receipt and sufficiency of which are hereby acknowledged.

7. No Further Action. Claimant agrees not to file federal or state judicial or administrative proceedings
concerning cleanup, removal, spill response or remediation of Coastal Real Property Damages and
Wetlands Real Property Damages, or the underlying Real Property, as a means to seek the redress of
Released Claims.

8. Dismissal of All Claims.

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(a.) In consideration of the benefits provided under this Individual Release, all Released Claims by or
on behalf of Claimant against any and all Released Parties shail be dismissed with prejudice in any
lawsuit in which the Claimant is a party.

(b.) This Individual Retease shall be the exclusive remedy for any and all Released Claims by or on
behalf of Claimant against any and all Released Parties, and Claimant shall not recover, directly
or indirectly, any sums from any Released Parties for any Released Claims other than those
received for the Released Claims under the terms of this Individual Release.

(c.) Claimant agrees that Claimant, and all other Natural Persons and Entities claiming by, through,
or on behalf of Claimant will be forever barred and enjoined from commencing, filing, initiating,
instituting, prosecuting, maintaining, or consenting to any judicial, arbitral, or regulatory action
against the Released Parties with respect to the Released Claims.

(d.) If Claimant commences, files, initiates, or institutes any new action or other proceeding for any
Released Claims against the Released Parties in any federal or state court, arbitration tribunal, or
administrative or other forum, such action or other praceeding shall be dismissed with prejudice and
at Claimant's cost; provided, however, before any costs may be assessed, counsel for such
Claimant, or, if not represented, such Claimant shall be given reasonable notice and an opportunity
voluntarily to dismiss such new action or proceeding with prejudice. Furthermore, if Claimant brings
any legal action before any Court, arbitration panel, regulatory agency, or other tribunal to enforce its
rights under this Individual Release, such Released Party shall be entitled to recover any and all
related costs and expenses (including attorneys’ fees) from any Claimant in violation or breach of its
obligations under this Individual Release.

9. issi Liability or i The Paragraph 2 payment to Claimant is made
without any admission of liability or wrongdoing by BP or any other Released Party and is made purely by
way of compromise and settlement.

10, Claimant Warranty. Claimant represents and warrants that Claimant or Claimant’s undersigned
representative in the case of a business entity has authority to execute this Individual Release on behalf of
Claimant.

11. Additional Protections for Released Parties. Claimant promises, agrees, acknowledges, represents,

warrants, and covenants as follows:

(a.) No Assignment of Claims, Claimant shall not assign or reassign, or attempt to assign or reassign,

to any person or entity other than BP any rights or claims arising out of, due to, resulting from, or
relating in any way to, directly or indirectly, the Deepwater Horizon Incident. Any such
assignment or reassignment, or attempt to assign or reassign, to any Natural Person or Entity
other than BP any rights or claims arising out of, due to, resulting from, or relating in any way to,
directly or indirectly, the Deepwater Horizon Incident shall be void, invalid, and of no force and
effect.

(b.) oO Recovery of Additional ensatory Dam . Claimant shall not accept or attempt to
recover, through insurance, reinsurance, indemnification, contribution, subrogation, litigation,
settlement, or otherwise, any Compensatory Damages from the Transocean Parties and/or the
Halliburton Parties. Nothing in this Paragraph 11(b) shall impair or impact Claimant’s rights to
pursue Transocean and Halliburton for exemplary and punitive damages individually or through the
Economic Class,

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(d.) Conditional Collection of Damages. In the event that Claimant is or becomes the beneficiary of

any judgment, decision, award, or settlement arising out of, due to, resulting from, or relating in any
way to, directly or indirectly, the Deepwater Horizon Incident, including from Assigned Claims
and/or Expressly Reserved Claims, Claimant shall not accept, execute on, attempt to collect, or
otherwise seek recovery of any Damages, to the extent that any Other Party is seeking or may
seek to recover such Damages from any Released Party, whether through indemnity, contribution,
subrogation, assignment, or any other theory of recovery, by contract, pursuant to applicable law or
regulation, or otherwise, directly or indirectly. Claimant may, however, accept, execute on,attempt
to collect, or otherwise seek recovery of Damages if and when a court or tribunal of competent
jurisdiction has finally determined that Other Parties cannot recover such Damages, whether
through indemnity, contribution, subrogation, assignment or any other theory of recovery, by
contract, pursuant to applicable law or regulation, or otherwise, directly or indirectly, from any
Released Party. For purposes of this Paragraph 11(d), “finally determined” shall mean the
conclusion of any applicable appeals or other rights to seek review by certiorari or otherwise, or the
lapse of any and all such rights, or the lapse of any and all applicable limitations or repose periods.

(e.) Conditions gn Future Settlements. Claimant may settle or compromise any rights, demands, or

Claims with the Transocean Parties, the Halliburton Parties, and/or any Other Parties arising
out of, due to, resulting from, or relating in any way to, directly or indirectly, the Deepwater
Horizon Incident, if, but only if, the Transocean Parties, the Halliburton Parties, and/or such
Other Party, as the case may be, agrees as part of that settlement or compromise to a full and final
release of, dismissal of, and covenant not to sue for any and all rights to recover, directly or indirectly,
from the Released Parties (whether through indemnity, contribution, subrogation, assignment or
any other theory of recovery, by contract, pursuant to applicable law or regulation, or otherwise) for
any Damages or other relief or consideration provided under or relating to such settlement or
compromise (whether the settlement is of a class, of individual Claims, or otherwise), including from
Expressly Reserved Claims, and further represents and warrants that it has not assigned and will
not assign any rights to recover for such Damages or other relief or consideration (whether through
indemnity, contribution, subrogation, or otherwise). As part of this commitment and without
limitation, Claimant shall not settle or compromise with the Transocean Parties, the Halliburton
Parties, and/or any Other Parties on terms that might allow any insurers, reinsurers, or indemnitors
thereof to claim against any Released Parties for indemnification, subrogation, contribution,
assignment or under any other theory of recovery, Claimant agrees that, before any such
settlement or compromise is executed, BP shall have the right to approve language in any such
settlement or compromise memorializing the representation and warranty set forth in this Paragraph
11(e), which approval shall not be unreasonably withheld.

(f.) Indemnity to Released Parties. Notwithstanding any provision in this Individual Release to the
contrary, if any Other Party recovers or seeks to recover from any Released Party (under any

theory of recovery, including indemnity, contribution, or subrogation, and including from Assigned
Claims and/or Expressly Reserved Claims) any Damages either (a) paid to Claimant, or (b) by,
through, under, or on account of Claimant; than Claimant shall indemnify (not defend) the
Released Parties, but only to the extent of the consideration received in Paragraph 2 above (by way
of example, if Claimant has received $100.00 pursuant to Paragraph 2 above, its indemnity
obligation would be capped at this amount). This indemnity obligation owed by Claimant includes
any and all claims made or other actions taken by that Claimant in breach of this Individual
Release.

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(g.) Notice Regarding Indemnity, Claimant expressly acknowledges that, to the fullest extent
allowed by law, the indemnity obligations contained in Paragraph 11(f) above apply to claims against
Released Parties predicated on negligence, gross negligence, willful misconduct, strict liability,
intentional torts, liability based on contractual indemnity, and any and all other theories of liability,
and any and all awards of attorneys’ fees or other costs or expenses. Claimant acknowledges that
this indemnity is for conduct occurring before the date of this Individual Release and therefore is
not affected by public policies or other law prohibiting agreements to indemnify in advance of certain
conduct. CLAIMANT ACKNOWLEDGES THAT THIS PARAGRAPH 11(g) COMPLIES WITH
ANY REQUIREMENT TO EXPRESSLY STATE THAT LIABILITY FOR SUCH CLAIMS IS
INDEMNIFIED AND THAT THIS PARAGRAPH 11(g) IS CONSPICUOUS AND AFFORDS FAIR
AND ADEQUATE NOTICE.

12. Claimant Signature Requirements. Claimant must personally sign the Individual Release, rather than
through an attorney or otherwise. An electronic signature is insufficient. In addition to signing and accepting
the overall Individual Release immediately below, Claimant agrees to separately sign and vouch for the
accuracy of the certifications contained in Attachment “B.”

13. Spouse’s Signature. If the Claimant has a living spouse, the Claimant's spouse must also personally sign
below. An electronic signature is insufficient. The Claimant and his or her spouse should not sign the
Individual Release unless they both intend to release all Released Claims.

14. Choice of Law. Notwithstanding the law applicable to the underlying claims, which is a disputed issue not
resolved by this Individual Release, this Individual Release and all questions with respect to the
construction and enforcement thereof and the rights and liabilities hereto shall be interpreted in accord with
General Maritime Law, as well as in a manner intended to comply with OPA.

15. Superseding Nature of Agreement. This Individual Release constitutes the final, complete, and

exclusive agreement and understanding between BP and Claimant and supersedes any and all other
agreements, written or oral, between BP and Claimant with respect to such subject matter of this
Individual Release in settlement of Claims arising out of or related to the Deepwater Horizon
Incident.

16. Continuing Effectiveness of Agreement. This Individual Release shall remain effective regardless of

any appeals or court decisions relating in any way to the liability of the Released Parties in any current or
future litigation. THIS INDIVIDUAL RELEASE SHALL ALSO REMAIN EFFECTIVE REGARDLESS OF
WHETHER THE SETTLEMENT AGREEMENT RESOLVING THE CLAIMS OF THE ECONOMIC CLASS IS
APPROVED.

17, Choice of Federal Forum and Waiver of State Forums. Any and all disputes, cases, or controversies

concerning this Individual Release, including without limitation disputes concerning the interpretation or
enforceability of this Individual Release, shall be filed only in the United States District Court for the
Eastern District of Louisiana, accompanied by a legal request made on behalf of any complainant party
(whether one of the Released Parties or the Claimant) for such dispute to be made part of the MDL
Action if the MDL Action has not yet been terminated. No actions to enforce this Individual Release
shall be filed in any state court, arbitration tribunal, or administrative agency and Claimant represents and
warrants that it shall not file such an action in any state court, arbitration tribunal, or administrative agency.
Claimant agrees not to contest the existence of federal jurisdiction in the MDL Action or the United States
District Court for the Eastern District of Louisiana.

18. Reservation of Rights. Notwithstanding the above and foregoing Individual Release, Claimant hereby
reserves: (i) the right to additional settlement payments for any additional Claims, if any, pursuant to the
terms of Section 4.4.8 of the Settlement Agreement; (ii) any and all rights or claims to which Claimant
may be entitled for additional distributions from and funds held in reserve or trust (including, but not limited
to, the Seafood Compensation Program, Assigned Claims and/or Transocean Personnel Insurance
Proceeds) according to the terms of the Settlement Agreement; and (iii) Expressly Reserved Claims.

19. Claimant’s Responsibility for Attorneys’ Fees. To the extent that Claimant has retained or engaged a

private attorney to represent him or her or it in connection with the Deepwater Horizon Incident,
Claimant acknowledges and agrees that he or she or it, and not the BP Parties, is solely responsible for
any attorneys’ fees or costs owed to such attorney by the Claimant.

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20. No Tax Advice, No opinion regarding the tax consequences of this Individual Release (including the
consideration granted in Paragraph 2 above) to Claimant is being given or will be given by the Released
Parties, nor is any representation or warranty in this regard made by virtue of this Individual Release.
Claimant must consult his, her or its own tax advisors regarding the tax consequences of the Individual
Release (including the consideration granted in Paragraph 2 above) and any tax reporting obligations
Claimant may have with respect thereto. Claimant's tax obligations, and the determination thereof, are his,
her, or its sole responsibility, and it is understood that the tax consequences may vary depending on
Claimant's particular circumstances. The Released Parties shall have no liability or responsibility
whatsoever for any such tax consequences resulting from payments under this Individual Release. To the
extent required by law, payments made from the Settlement Trust under this Individual Release will be
reported to the appropriate authorities.

SIGNATURES
Wiriam DK ogi) {Man Oth 4 hae
Claimant's Name Claimant's Signature & Title, Date

if Business Entity Claimant

Nove
Claimant's Spouse's Name Claimant's Spouse's Signature, Date
if applicable
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ATTACHMENT A: LISTING RELEASED PARTIES

Abdon Callais Offshore, Inc.
Admiral Robert J Papp Jr.

Admiral Thad Allen

Admiral Towing, LLC

Aerotek, Inc.

Airborne Support, Inc.

Airborne Support International, Inc.
Alford Safety Services Inc.

Alford Services Inc.

Ameri-Force, Inc.

Ameri-Force Craft Services, Inc.
American Pollution Control Corporation
Anadarko Petroleum Company
Anadarko Petroleum Corporation
Anadarko E&P Company LP

Apex Environmental Services, LLC
Art Catering, Inc.

Ashland Services, LLC

B&B Environmental Services, Inc.
Belle Chasse Marine Transportation, Inc.
BJ Services Company, USA

Blue Marlin Services of Acadiana, LLC
Bobby Lynn's Marina, Inc.

BP America Inc.

BP America Production Company

BP Company North America Inc.

BP Corporation North America Inc.
BP Energy Company

BP Exploration (Alaska) Inc.

BP Global Special Products (Americas) Inc.
BP Holdings North America Limited
BP Exploration & Production Inc.

BP p.l.c.

BP Products North America Inc.

BP International Ltd.

BP Corporation North America Inc. Savings Plan Investment Oversight Committee
Brett Cocales

Brian Morel

Cabildo Services, LLC

Cabildo Staffing, LLC

Cahaba Disaster Recovery LLC

Cal Dive International, Inc.

Cameron Corporation

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Cameron Internationa! Corporation
Cameron International Corporation f/k/a Cooper Cameron Corporation
Cameron International Corporation d/b/a/ Cameron Systems Corporation
Center for Toxicology and Environmental Health L.L.C.
Chill Boats L.L.C.

Chouest Shorebase Services, LLC

Clean Harbors, Inc.

Clean Tank LLC

Clean Tank Inc.

Core Industries, Inc.

Core 4 Kebawk, LLC

Crossmar, Inc.

Crowder/Gulf Joint Venture

Crowder Gulf Disaster Recovery

Danos and Curole Marine Contractors, LLC

Danos & Curole Staffing, L.L.C.

David Sims

Deepwater Horizon Oil Spill Trust

Diamond Offshore Company

DOF Subsea USA, Inc.

Don J. Vidrine

DRC Emergency Services, LLC

DRC Marine, LLC

DRC Recovery Services, LLC

Dril-Quip, Inc.

Dynamic Aviation Group, Inc.

Eastern Research Group, Inc.

Environmental Standards, Inc.

Environmental Safety & Health Consulting Services
Environmental Safety & Health Environmental Services
ES&H, Inc.

ESIS, Inc.

Exponent, Inc.

Faucheaux Brothers Airboat Services, Inc.

Global Diving & Salvage, Inc.

Global Employment Services, Inc.

Global Fabrication, LLC

Global Marine International, Inc.

Graham Gulf Inc.

Grand Isle Shipyard Inc.

Gregg Waiz

Guilbeau Marine, Inc.

Guilbeau Boat Rentais, LLC

Gulfmark Offshore, Inc.

Gulf Offshore Logistics, LLC

Gulf Offshore Logistics International, LLC

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Gulf Services Industrial, LLC
HEPACO, Inc.

Hilcorp Energy Company

Hyundai Heavy Industries Co. Ltd, Inc.
Hyundai Motor Company

I-Transit Response, L.L.C
International Air Response, Inc.
Island Ventures IT, LLC

JMN Specialties, Inc.

JNB Operating LLC

John Guide

K & K Marine, LLC

LaBorde Marine Services, LLC
Lane Aviation

Lawson Environmental Service LLC
Lawson Environmental Service & Response Company
Lee Lambert

Lord Edmund John Browne
Lynden Air Cargo, LLC

Lynden, Inc.

Maco of Louisiana, LLC

Maco Services, Inc.

Marine Spill Response Corporation
Mark Bly

Mark Hafle

M-T LLC.

M-I Drilling Fluids L.L.C.

M-I Swaco

Miller Environmental Group, Inc.
Mitchell Marine

Mitsui & Co. (USA), Inc.

Mitsui & Co. Ltd.

Mitsui Oil Exploration Co. Ltd.
ModuSpec USA, Inc.

Monica Ann LLC

Moran Environmental Recovery, LLC
MOEX Offshore 2007 LLC

MOEX USA Corporation

M/V Monica Ann

M/V Pat Tilman

M/V Damon B. Bankston

M/V Max Chouest

M/V Ocean Interventions

M/V C. Express

M/V Capt. David

M/V Joe Griffin

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M/V Mr. Sidney

M/V Hitda Lab

M/V Premier Explorer

M/V Sailfish

M/V Seacor Washington

M/V Emerald Coast

M/V Admiral Lee

M/V Seacor Vanguard

M/V Whuppa Snappa

Nalco Energy Services, LP

Nalco Holding Company

Nalco Finance Holdings LLC

Nalco Finance Holdings Inc.

Nalco Holdings LLC

Nalco Company

National Response Corporation
Nature's Way Marine, LLC

Nautical Ventures, LLC

Nautical Solutions, LLC

O'Brien’s Response Management, Inc
Ocean Runner, Inc.

Ocean Therapy Solutions, LLC
Oceaneering International, Inc.
Odyssea Marine, Inc.

Offshore Cleaning Systems L.L.C.
Offshore Service Vessels, LLC
Offshore Inland Marine & Oilfield Services, Inc.
Oil Recovery Company, Inc. of Alabama
Oilfield Marine Contractors, LLC
Parsons Commercial Services Inc.
Parsons Services Company

Parsons Facility Services Company
Parsons Corporation

Patriot Environmental Services Incorporated
Peneton Company

Perennial Contractors, LLC

Peneton Corporation

Production Services Network U.S., Inc.
Quality Container, Inc.

Quality Energy Services, Inc.

Ranger Offshore, Inc.

Reel Pipe, LLC

Resolve Marine Services, Inc.

Robert Kaluza

Ronald W. Sepulvado

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Schlumberger, Ltd.

Seacor Holdings Inc.

Seacor Marine, LLC

Seacor Marine, Inc.

Seacor Marine International, Inc.
Seacor Offshore LLC

Seacor Worldwide, Inc.

Sealion Shipping LTD

Sea Support Services, L.L.C.

Sea Tow of South Miss, Inc.
Seafairer Boat, LLC

Shamrock Management LLC et al.
Shoreline Services, LLC

Siemens Financial, Inc.

Shoreline Construction, LLC

Smith Marine, Inc.

Southern Cat, Inc.

Southern Environmental of Louisiana, LLC
Stallion Offshore Quarters, Inc.
Subsea 7 LLC

Tamara's Group, LLC

Team Labor Force, LLC

Technical Marine Maintenance Services, L.L.C.
The Modern Group, Ltd.

The Modern Group GP-SUB, Inc.
The O’Brien Group, LLC

The Response Group, Inc.

Tiburon Divers, Inc.

Tidewater, Inc.

Tidewater Marine LLC

Tiger Rentals, Ltd.

Tiger Safety, LLC

Toisa Limited

Total Safety U.S., Inc.

Twenty Grand Offshore, LLC
Twenty Grand Marine Service, LLC
Twenty Grand Offshore Inc.
USES/Construct Corps

United States Environmental Services, LLC
United States Maritime Services, Inc.
Viscardi Industrial Services, LLC
Weatherford International Ltd.
Weatherford U.S. L.P.

Wood Group Production Services, Inc.
Worley Catastrophe Services, LLC
Worley Catastrophe Response, LLC

REL-1 Deepwater Horizon Settlement Release and Covenant Not to Sue Claimant ID: 100002412

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ATTACHMENT B: CERTIFICATIONS

Claimant hereby signs to attest to and vouch for the accuracy of the certification below:

I certify that I understand and acknowledge that, (subject to my right to additional Settlement Payments, if any,
pursuant to Section 4.4.8 of the Settlement Agreement), I am forever giving up with prejudice and discharging,
without any right of legal recourse whatsoever, any and all rights I have or may have to the Released Claims
against the Released Parties. I acknowledge that by having executed the Individual Release and signing
below neither I nor the entity I represent has been pressured or influenced by, or is relying on any statement or
representation made by any person acting on behalf of BP or any other Released Party. I certify that I
understand that I have the right to consult with an attorney of my choosing before signing this Individual
Release.

CERTIFICATION FOR BUSINESS OR PROPERTY CLAIMS

I certify that either:

(1) I have not made an insurance claim or received any insurance proceeds for any business or property Claim

arising out of, due to, resulting from, or relating in any way to, directly or indirectly, the Deepwater
Horizon Incident; OR

(2) If I have made or do make an insurance claim and/or receive or have received insurance proceeds for any
business or property claim arising out of, due to, resulting from, or relating in any way to, directly or

indirectly the Deepwater Horizon Incident, I will indemnify BP for any liability it incurs for a subrogation

claim made against BP arising out of:

(a) such insurance proceeds, provided that the subrogation claim is brought by an entity seeking
payment of insurance proceeds to me for any business or property claim arising out of, due to,
resulting from, or relating in any way to, directly or indirectly, the Deepwater Horizon
Incident; and

(b) the amount that I indemnify BP shall not exceed the amount of insurance proceeds that I
received for the business or property claim at issue.

CLAIMANT ACKNOWLEDGES THAT THIS CERTIFICATION COMPLIES WITH ANY REQUIREMENT TO
EXPRESSLY STATE THAT LIABILITY FOR SUCH CLAIMS IS INDEMNIFIED AND THAT THIS
CERTIFICATION IS CONSPICUOUS AND AFFORDS FAIR AND ADEQUATE NOTICE.

SIGNATURES

WrrramD Keep! Lon Qh  —-+e)y3

Claimant's Name Claimant's Signature & Title, Date i
if Business Entity Claimant

NOWe
Claimant's Spouse's Name Claimant's Spouse's Signature, Date
if applicable
REL-1 Deepwater Horizon Settlement Release and Covenant Not to Sue Claimant ID: 100002412
VELA UA EUAN RO OO Page 20 of 20 Claim ID: 1779

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Attorney Fee Acknowledgment

Pursuant to Paragraph 8 of Exhibit 27 to the Settlement Agreement, both the claimant and the claimant’s attorney must sign
this Attorney Fee Acknowledgment before receiving any Settlement Payment.

A. Claimant Information

Last Name First Name Middle Initial
Name:
Kila Tac.
Deepwater Horizon Settlement Program Claimant 100002412
Number:
Deepwater Horizon Settlement Program Claim Number: 1779

Law Firm Name

Attorney: E. SJ. S#4 ad L Aw Fkm

Attorney Last Name Attorney First Name
Saad Elin-s
B. Acknowledgment of Satisfaction of Attorney Fees and Expenses

The claimant and claimant's designated counsel hereby acknowledge and agree that the Settlement Payment(s) to be paid to
the claimant pursuant to the Deepwater Horizon Economic and Property Damages Settlement Agreement, as
administered by the Claims Administrator, include(s) monies that fully and finally satisfy any and all fees and costs in
respect to representation of the claimant by any counsel, whether current or former, (including but not limited to
any fees and costs asserted by lien or privilege) in connection with the claim(s) and rights of such counsel to
them that are being released by the signed Full and Final Release, Settlement, and Covenant Not to Sue. This
Attorney Fee Acknowledgment does not limit or waive: (1) the recovery of any potential Common Benefit Fee and Costs
Award to the Economic Class Counsel and/or other common benefit attorneys who may submit time and costs in
compliance with Pretrial Order 9 or Section 5.16 or Exhibit 27 of the Settlement Agreement; or (2) the claimant or
attorney’s right to dispute or object to an allocation of attorneys’ fees and costs as among attorneys or between claimant
and attorney.

C. Signature

By my signature below, I certify and declare pursuant to 28 U.S.C. Section 1746 that the information provided in this Attorney
Fee Acknowledgment Is true and accurate to the best of my knowledge.

Claimant's Signat Af D Tid fl LF |
aimant’s Signature 4h) bbarr, bisa ate: (Month/Day/Year)

Last Name R 0 bef son First Name Middle Initial
Printed Name: . ke .

tet DELO Wiliam D.
Title (if a Business): Pp _ as

HES NAD
+ Lk / Lol

Attorney Signature Date: (Month/Day/Year)

Last Name First Name Middle Initial
Printed Name: ; a

SAA Elias J,
ATTY-10 v.1 WWW.DEEPWATERHORIZONECONOMICSETTLEMENT.COM Claimant ID: 100002412

IMM AMY SA YL A Page 1 of 2 Claim ID: 1779

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D. How to Submit this Form

Submit the original, hard copy signed Attorney Fee Acknowledgment in one of these ways:

By Mail

Deepwater Horizon Economic Claims Center
PO Box 1439
Hammond, LA 70404-1439

By Overnight, Certified or Registered Mail

Deepwater Horizon Economic Claims Center
c/o Claims Administrator

42548 Happy Woods Road

Hammond, LA 70403

Visit a Claimant Assistance Center

You may take the required information or documents to a
Claimant Assistance Center.

ATTY-10 v.1 WWW.DEEPWATERHORIZONECONOMICSETTLEMENT.COM Claimant ID: 100002412

INIT: bd 0

Page 2 of 2 Claim ID: 1779
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rom WV =Q

(Rev. December 2011)

Department of the Request for Taxpayer Give Form to the
Treasury . _ 7 _ > requester.Do not send to
internal Ravenue Service Identification Number and Certification the IRS.

Name fas shown on your income tax return)

=
Con inc.
Business nameldisragariied entity name, if different from above
Check appropriate box for federal tax classification:
Individual/sole Proprietor C Corporation S Corporation Partnership Trust/estate
O Oo O Oo Oo Exempt payee

(J Other (see instructions) >

(CJ Limited liability company. Enter the tax classification (C=C corporation, S=S corporation, P=partnership) >

Address (number, street, and apt. or suite na.)

Requester's name and address (optional)

See Specific Instructions on page 2

WISO ZelaleR ELV)

‘DOBLE, DLA. 3L608

List account number(s) here {optional)

BF axpayer Identification Number (TIN)

Enter your TIN in the appropriate box. The TIN provided must match the name given on the “Name' line
ta avoid backup withholding. For individuals, this is your social security number (SSN). However, for a
resident alien, sole proprietor, or disregarded entity, see the Part | instructions on page 3. For other
entities, it is your employer identification number (EIN). If you do not have a number, see How to geta

TIN on page 3.

Note. If the account is in more than one name, see the chart on page 4 for guidelines on whose number

to enter.

Soclal security number

Employer identification number

2B 1-eIcar ery

BR Certification

Under penalties of perjury, | certify that:

1. The number shown on this form is my correct taxpayer identification number (or | am waiting for a number to be issued to me), and

2. | am not subject to backup withholding because: (a) | am exempt from backup withholding, or (b) | have not been notified by the Internal Revenue Service
(IRS) that | am subject to backup withholding as a result of a failure to report all interest or dividends, or (c) the IRS has notified me that | am no longer

subject to backup withhalding, and
3. [am aJU.S. citizen or other U.S. person (defined below),

Certification instructions. You must cross out item 2 abave if you have been notifled by the IRS that you are currantly subject to backup withhalding because
you have failed to report all interest and dividends on your tax return. For real estate transactions, item 2 does not apply, For mortgage interest paid, acquisition
or abandonment of secured property, cancellation of debt, contributions to an individual retirement arrangement (IRA), and generally, payments other than
interest and dividends, you are not required to sign the certification, hut you must provide your correct TIN. See the Instructions on page 4.

Slynatura of

Sign Here |y5, parson >

Ahan 21a =

Date >

“~/§- 20/3

General Instructions

Section references are to the Internal Revenue Code unless otherwise noted.
Purpose of Form

A person who is required to file an information retum with the IRS must obtain
your corract taxpayer identification number (TIN) to report, for example, income
paid to you, real estate transactions, mortgage interest you paid, acquisition or
abandonment of secured property, cancellation of debt, or contributions you
made ta an IRA,

Use Form W-9 only if you are a U.S. person (including a resident alien),
to provide your correct TIN to the person requesting it (the requester)
and, when applicable, to:

1. Certify that the TIN you are giving is correct (or you are waiting for a
number to be issued),

2. Certify that you are not subject to backup withholding, or

3. Claim exemption from backup withholding If you are a U.S, exempt payee.
'f applicable, you are also certifying that as a U.S. person, your allocable share
of any partnership incame from a U.S. trade or business is not subject to the
withholding tax on foraign partners’ share of effectively connected income.

Note. If a requester gives you a form other than Form W-9 to request your TIN,
you must use the requester’s form if it is substantially similar to this Form W-9.
Definition of a U.S. person. For federal tax purposes, you are considered a
U.S. person if you are:

* An individual who is a U.S, citizen or U.S. resident alien,

* A partnership, corporation, company, or association created or organized in
the United States or under the laws of the United States,

» An estate (other than a foreign estate), or

+ A domestic trust (as defined in Regulations section 301.7701-7).

Special rules for partnerships. Partnerships that conduct a trade or business
in the United States are generally required to pay a withholding tax on any
foreign partners’ share of income from such business. Further, in certain cases
where a Form W-9 has not bean recaived, a partnership is required to presume
that a partner is a foreign person, and pay the withholding tax. Therefore, if you
are a U.S. person that isa partner in.a partnership conducting trade or
business in the Unitad States, provide Farm W-9 to the partnership wo establish
your U.S, status and avoid withholding on your share of partnership incame

The person who gives Form W-9 to the partnership for purposes of establishing
Cat. No. 10231X

Certain pavees and payments are exempt from backup withhalding. See the
Form W-9(Rev. 12-2011)

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its U.S. status and avoiding withholding on its allocable share of net income
from the partnership conducting a trade or business in the United States is in
the following cases:

» The U.S. owner of a disregarded entity and not the entity,
* The U.S. grantor or other owner of a grantor trust and not the trust, and
" The U.S. trust (other than a grantor trust) and not the beneficiaries of the trust,

Foreign person. If you are a foreign person, do not use Form W-9. Instead, use
the appropriate Form W-8 (see Publication 515, Withholding of Tax on
Nonresident Aliens and Foreign Entities).

Nonresident alien whe becomes a resident alien. Generally, only a
nonresident alien individual may use the terms of a tax treaty to reduce or
eliminate U.S. tax on certain types of income. However, most tax treaties
contain a provision known as a "saving clause." Exceptions specified in the
saving clause may permit an exemption from tax to continue for certain types of
income even after the payee has otherwise become a U.S. resident alien for tax
purposes.

If you are a U.S. resident alien who is relying on an exception contained in
the saving clause of a tax treaty to claim an exemption from U.S. tax on certain
types of income, you must attach a statement to Form W-9 that specifies the
following five items:

1. The treaty country. Generally, this must be the same treaty under which
you claimed exemption from tax as a nonresident alien.

2. The treaty article addressing the income.

3. The article number (or location) in the tax treaty that contains the saving
clause and its exceptions.

4. The type and amount of income that qualifies for the exemption from tax.

5. Sufficient facts to justify the exemption from tax under the terms of the
treaty article.

Example. Article 20 of the U.S.-China income tax treaty allows an
exemption from tax for scholarship incame received by a Chinese student
temporarily present in the United States. Under U.S. law, this student will
become a resident alien for tax purposes if his or her stay in the United States
exceeds 5 calendar years. However, paragraph 2 of the first Protocol to the
U,S.-China treaty (dated April 30, 1984) allows the provisions of Article 20 to
continue to apply even after the Chinese student becomes a resident alien of
the United States, A Chinese student who qualifies for this exception (under
paragraph 2 of the first protocol) and is relying on this exception to claim an
exemption from tax on his or her scholarship or fellowship income would attach
to Form W-9 a statement that includes the information described above to
support that exemption.

If you are a nonresident alien or a foreign entity not subject to backup
withholding, give the requester the appropriate completed Form W-8.
What Is backup withholding? Persons making certain payments to you must
under certain conditions withhold and pay to the IRS a percentage of such
payments. This is called “sackup withholding.” Payments that may be subject to
backup withhalding include interest, tax-exempt interest, dividends, broker and
barter exchange transactions, rents, royalties, nonemployee pay, and certain
payments from fishing boat operators, Real estate transactions are not subject
to backup withholding.

You will not be subject to backup withholding on payments you receive if
you give the requester your correct TIN, make the proper certifications, and
report all your taxable interest and dividends on your tax retum.

Payments you receive will be subject to backup withholding
if:

1. You do not furnish your TIN to the requester,

2. You do nat certify your TIN when required (see the Part IJ instructions on
page 3 for details),

3. The IRS tells the requester that you furnished an incorrect TIN,

4. The IRS tells you that you are subject to backup withholding because you
did not report all your interest and dividends on your tax return (for reportable
interest and dividends only), or

5. You do not certify to the requester that you are not subject to backup
withholding under 4 above (for reportable interest and dividend accounts
opened after 1983 only).

instructions below and the separate Instructions for the Requester of Form W-9.
Also see Special rules for partnerships on page 1.

Updating Your Information

You must provide updated information to any person to whom you claimed to
be an exempt payee if you are no longer an exempt payee and anticipate
receiving reportable payments in the future from this person. For example, you
may need to provide updated information if you are a C corporation that elects
to be an S corporation, or if you no longer are tax exempt. In addition, you must
furnish a new Form W-9 if the name or TIN changes for the account, for
example, if the grantor of a grantor trust dies.

Penalties

Failure to furnish TIN. If you fail to furnish your correct TIN to a requester, you
are subject to a penalty of $50 for each such failure unless your failure is due to
reasonable cause and not to willful neglect.

Civil penalty for false Information with respect to withholding. If you make
a false statement with no reasonable basis that results in ne backup
withhalding, you are subject to a $500 penalty.

Criminal penalty for falsifying information. Willfully falsifying certifications or
affirmations may subject you to criminal penalties including fines and/or
imprisonment.

Misuse of TINs. If the requester discloses or uses TINs in violation of federal
law, the requester may be subject to civil and criminal penalties.

Specific Instructions

Name

If you are an individual, you must generally enter the name shown on your
income tax return. However, if you have changed your last name, for instance,
due to marriage without informing the Social Security Administration of the
name change, enter your first name, the last name shown on your social
security card, and your new last name.

lf the account is in joint names, list first, and then circle, the name of the
person or entity whose number you entered in Part | of the form.

Sole proprietor. Enter your individual name as shown on your income tax
return on the “Name” line. You may enter your business, trade, or “doing
business as (DBA)" name on the "Business name/fdisregarded entity name” line.

Partnership, C Corporation, or S Corporation. Enter the entity's name on the
"Name" line and any business, trade, or “doing business as (DBA) name” on the
“Business name/disregarded entity name’ line.

Disregarded entity. Enter the owner's name an the “Name” line. The name of
the entity entered on the “Name” line should never be a disregarded entity. The
name on the "Name" line must be the name shown on the income tax return on
which the income will be reported. For example, if a foreign LLC that is treated
as a disregarded entity for U.S. federal tax purposes has a domestic owner, the
domestic owner's name is required to be provided on the “Name' line. if the
direct owner of the entity is also a disregarded entity, enter the first owner that
is not disregarded for federal tax purposes. Enter the disregarded entity's name
on the “Business name/disregarded entity name" line. If the owner of the
disregarded entity is a foreign person, you must complete an appropriate Form

Note. Check the appropriate box for the federal tax classification of the person
whose name is entered on the "Name" line (Individual/sole proprietor,
Partnership, C Corporation, S Corporation, Trustestate).

Limited Liability Company (LLC). If the person identified on the "Name" line is
an LLC, check the “Limited liability company" box only and enter the
appropriate code for the tax classification in the space provided. If you are an
LLC that is treated as a partnership for federal tax purposes, enter "P" for
partnership. If you are an LLC that has filed a Form 8832 or a Form 2553 to be
taxed as a corporation, enter “C” for C corporation or “S" for S corporation. If
you are an LLC that is disregarded as an entity separate from its owner under
Regulation section 301.7701-3 (except for employment and excise tax), do not
check the LLC box unless the owner of the LLC (required to be identified on the
“Name line) is another LLC that is not disregarded for federal tax purposes. If
the LLC is disregarded as an entity separate from its owner, enter the
appropriate tax classification of the owner identified on the "Name" line.

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Other entities. Enter your business name as shown an required federal tax documents on
the "Name" line. This nama should matéh the name shown on the charter or other legal
document creating the entity, You may enter any business, trade, or DBA name on the

“Business name/ disregarded antily name” line

Exempt Payee

If you are exempt fram backup withholding, enter your name as described above and check
the appropriate box for your status, then check the "Exempt payee" box in the line following
the "Business name/ disregarded entity name," sign and date the form.

Generally, individuats (including sole proprietors) are not exempt from backup
withholding. Corporations are exempt from backup withholding for certain payments, such as

interest and dividends.

Note. If you are exempt from backup withholding, you should still complete this form to avoid

possible erroneous backup withholding.

The followitg payees are exempt from backup withholding:

1. An organization exempt fram tax under section 501(a), any IRA, or a custodial account
under section 403(b)(7) ifthe account satisfies the requirements of section 401(f\(2),

2. The United States or any of its agencies or instrumentalities,

3. A state, the District of Columbia, a possession of the United States, or any of their

political subdivisions or instrumentalities,

4. A foreign government or any of its political subdivisions, agencies, or instrumentalitias,

or

5. An international organization or any of its agencies or instrumentalities. Othar payess

that may be exempt from backup withholding include:
6. A corporation,

7. A foreign central bank of issue,

8. A dealer in securities or commodities required to register in the United States, the

District of Columbia, or a possession of the United States,

9. A futures commission merchant registered with the Commodity Futures Trading

Commission,

10. A real estate investment trust,

11. An entity registered at all times during the tax year under the Investment Company Act

of 1940,
12. A common trust fund operated by a bank under section 584(a),

13. A financial institution,

14, A middleman known in the investment community as a nominee or custodian, or

15, A trust exempt from tax under section 664 or described in section

4947,

The following chart shows types of payments that may be exempt from backup
withholding. The chart applies to the exempt payees listed above, 1 through 15,

IF the payment is for. . . THEN the payment is exempt for...
Interest and dividend payments All exempt payees except for 9
Broker transactions Exempt payees 1 through 5 and 7 through 13. Also,

C corporations.

Barter exchange transactions and Exempt payees 1 through 5
patronage dividends

Payments over $600 required to be Generally, exempt payees 1 through 7 2

reported and direct sales over
$5,000 '

| See Form 1089-MISC, Miscellaneous Income, and its instructions.

2 However, the following payments made to a corporation and reportable on Form 1099-MISC are not
exampt from backup withholding: medical and health care payments, attomays' fees, gross proceeds paid

to an attorney, and payments for services paid by a federal executive agency.

Part 1.Taxpayer Identification Number (TIN)

Enter your TIN in tha appropriate box. If you are a resident alien
and you do not have and are not eligible to get an SSN, your TIN is
your IRS individual taxpayer identification mumber (ITIN), Enter it in
the sacial security number box. If you do not Nave.an ITIN, see
How ta.got a TIN below.

IF you are a sole proprietor and you have an EIN, you may
enter either your SSN or EIN. However, the IRS prefers that you
use your SSN,

Ifyou are a single-member LLC that is disregarded as an entity
separate from its owner (see Limited Liabillly Company (LLC) on
page 2), enter the owner's SSN (ar EIN, if the owner has one). Do
not enter the disregarded entity's EIN. If the LLG is classified as a
corporation or partnership, enter the entity's EIN.

Note. See the chart on page 4 for further clarification of name and
TIN combinations.

How to gota TIN, If you do not have a TIN, apply for one
immediately, To apply for an SSN, get Fann S8-5, Application tor a
Social Security Card, frany your local Social Security Administration
office or get this form anlina at www. ssa.gov, You may also gat this
form by calling 1-800-772-1213. Use Form W-7, Application for
IRS Individual Taxpayer ldentification Number, to apply for arn (TIM,
or Form 38-4, Application for Employer tdentificatian Number, to
anply for an EIN. You can apply for an GIN online by accessing tha
IRS wabsite at wewirs.gowhusinesses and clicking on Employer
Identification Number (EIN) under Starting a Business. Yau can gat
Forms W-7 and SS trom the IRS by visiting IRS.goy or by calling
1-800-TAX-FORM (1-800-829-3676)

Ifyou are asked to complete Form W-9 but do not have a TIN,
write “Applied For in the space {or the TIN, sign. and date the farm,
and give it to the requester. For interest and dividend payments,
and certain payments made with respect to readily tradable
instruments, generally you will have 60 days to.geta TIN and give
it tothe requester before you ara subject to backup withholding on
payments. The 60-day rule does nat apply to other types of
payments. You will be subjegt to backup withholding on all such
Payments until you provide your TIM to the requester

Note. Entering “Applied For’ means that you have already applied
for a TIN or that you intend to apply for ane soon.

Caution: A disregarded domestic entity that has a foreign owner
must use the appropriate Form W-8.

Part Il. Certification

To establish to the withholding agent that you are a U.S. person, or
resident allen, sign Form W-9. You may be requested to sign by
the withholding agent ever ifitem 1, below, and Items 4 and 5 on
page 4 indicate otherwise.

For a joint account, only the person whose TIN is shown in Part
1 should sign (when required). In the case of a disregarded entity,
the person identified on the "Name" line must sign. Exempt
payees, see
Exempt Payee on page 3.

Signature requirements. Complete the certification as indicated in
items 1 through 3, below, and items 4 and 5 on page 4.

1. Intarest, dividend, and barter exchange accounts opened
before 1984 and broker accounts considered active during
1983.Yau must give your correct TIN, but you do nat have ta sign
the certiication,

2. Interest, dividend, broker, and barter exchange accounts
opened after 1983 and broker accounts considered inactive
during 1983. Yau must sign the certification or backup withholding
will apply. If You are subject to backup withholding and you are
merely providing your carract TIM ta the requester, you must cross
out lem 2 in the certification before signing the form.

3. Real estate transactions. You must sign the certification. You
may cross aut item 2 of the certification.

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4. Other payments. You must give your correct TIN, but you da not hava to sign Ihe
certification unless you have been notified that you nave previously given an incorract TIN number will be considered to be that of the first name listed.
“Other payments” include payments made in the course of the requester’ trade ar
business far rents, royalties, goods (qther than bills tor merchandise), medical and health Secura Your Tax Records from Identity Theft
care sarvices (Including payments to carporations), payments to a nonemployes for
Services, payments to cettain fishing boat crew mambers and fishermen, and gross
proceeds pald to attamoys (including payments to corporations).

5. Mortgage interest paid by you, acquisition or abandonment of secured

property, cancellation of debt, qualifled tuition program payments (under section
529), IRA, Coverdell ESA, Archer MSA or HSA contributions or distributians, and
pension distributions, You
must give your correct TIN, but you do not have to sign the certification.

Nota. If no mame ts circled whan more than one name is listed, the

identity theft occurs when someane uses your persanal information
such 43 your name, social security number (SSN), or other
identifying information, without your permission, to commit fraud or
other crimes. An identity thief may use your SSN to get a job ar may
file a tax return using your SSN to receive a refund.

To reduce your risk:
» Protect your SSN,
» Ensure your employer is protecting your SSN, and

What Name and Number To Give the Requester

» Be careful when choosing a tax preparer.

For this type of account:

Give name and SSN of:

If your tax records are affected by identity thett and you receive a

1.
2.

a

Individual
Two or more individuals (joint
account)

. Custodian account of a minor

(Uniform Gift to Minors Act)

a. The usual revocable savings
trust (grantor is also trustee}

b. So-called trust account that is
not a legal or valid trust under
state law

Sole proprietorship or
disregarded entity owned by an
individual

Grantor trust filing under
Optional Form 1099 Filing

. Method | (see Regulation

section 1.67 1-4(b)(2)())(A))

The individual

The actual owner of the account or,
if combined funds, the first
individual on the account !

The minor ?

The grantor-trustee '

The actual owner '

Tha owner 3

The grantor*

Ratice fram the IRS, respond right away to the name and phone
number printed on the IRS notice ar letter,

If your tax records are not currently affected by identity theft but you
think you are at risk due to a lost or stolen purse or wallet,
questionable credit card activity or credit report, contact the IRS
Identity Theft Hotline at 1-800-908-4490 ar submit Form 14039.

For more information, see Publication 4535, Identity Theft
Prevention and Victim Assistance.

Victims of identity theft who are experiencing economic harm or a
system problem, or are seeking help in resolving tax problems that
have not been resolved through normal channels, may be eligible for
Taxpayer Advocate Service (TAS) assistance. You can reach TAS
by calling the TAS toll-free case intake line at 1-877-777-4778 or
TTY/TDD 1-800-829-4059,

Protact yourself from suspicious emails or phishing schemes.

For this type of account:

Give name and EIN of:

Phishing is the creation and use of email and websites designed to
mimic legitimate business emails and websites. The mast common

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10.

11.

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13.

14,

Disregarded entity not owned by
an individual

A valid trust, estate, or pension
trust

Corporation or LLC electing
carporate status on Form 8832
or Form 2553

Association, club, religious,
charitable, educational, or other
tax-exempt organization
Partnership or multi-member
LLC

A broker or registered nominee
Account with the Department of
Agriculture in the name of a
public entity (such as a state or
local

government, school district, or
prison) that receives agricultural
program payments

Grantor trust filing under the
Form 1041 Filing Method or the
Optional Form 1099 Filing
Method 2 (see Regulation
section 1.67 1=4(b)(2)(}(B))

The owner
Legal entity *

The corporation

The organization

The partnership

The broker or nominee

The public entity

The trust

act is sending an email to a user falsely claiming to be an
established legitimate enterprise in an attempt to scam the user into
surrendering

private information that will be used for identity theft.

The [RS does not initiate contacts with taxpayers via emails. Also,
the IRS does not requast personal detailed information through email
or ask taxpayers for the PIN numbers, passwords, or simitar secret
access information for their credit card, bank, or other financial
accounts,

IF you receive an unsolicited email claiming to be from the IRS,
forward this message to phishing@irs.gov. You may also report
misuse of the IRS name, logo, or other IRS property to the
Treasury Inspector General for Tax Administration at 1-800-366-
4484, You can forward suspicious emails to the Federal Trade
Cammission at: seam@uce.gov or contact them at
www. fic. gov/idtheft or 1-877-IDTHEFT (1-877-438-4338),

Visit IRS.gov to learn more about identity theft and how to
reduce your risk.

won

a joint account has an SSN, that person's number must be furnished.

. Circle the minor's name and furnish the minor's SSN.
. You must show your individual name and you may also enter your business or DBA’ name
on the “Bualness aameddlsregarded entity” name line, You may use elthar yaur SSN or EIN

(iF you have ona), but the IRS encourages you lo use your SSN.

List fest and cirele the name of the trust, estate, or pansion trust. (Do not furnish the TIM of
» ine parsanal raprasentalive o¢ trustee unless (ne legal antity self is not designated in the

account Uitle.) Aigo te0 Special nulys for partnerships on page 1.
"Note. Grantor alsa must provide a Farm We to Inistee of tnjot

. List first and circle the name of the person whose number you furnish. If only one Person on

Privacy Act Notice
Section 6109 of the jiternal Revanue Coda cequiras you to pravidia your carraut TIN ta persons (including federal agencies) wtvo ara required to fila Information ratumns with tha IRS to
report interes), divitands, or carinin olher income pall to you; mortgage interest you paid; tie aceilsition or agandonment of secured proparty; the cancaliation of deat: or contributions

you mate to.an IRA, Archar MSA, or HSA. The parson colledting this for Uses the information on the form to fle Information ratuma with tip (RS,

uses of this information include giving itty the Department of Justice for civil and criminal |itigation and to cilles, states, the Distéct of Columbia, and U.S, possessions for usa in
aiministaring their tws, The information ntse may be disctesad lo otter counties Under a treaty, to fedlaral and stale agencies to enforce elvil and criminal tawa, or to federal law
anfarcemmant and intelligence agencies to combal turism. You must orovide your TIN wivalhar ar not you are roquired to file a tax return. Unddr sactlon 4408, payers must generally
wilhhold a percentage of taxable interest, dividend, and cartain other payments to a payee who «foes not give o TIN to the payar. Certain panaltias may also opply for providing false or
fraudulent nfomallan,

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, Paporting the above information. Routine
